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EXhibit

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STUDENT CONDUCT
SYSTEM HANDBOOK
2017 - 2018

Syracuse Universily

 

 

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SYRACUSE UN|VERS|TY STATEMENT OF
STUDENT RlGHTS AND RESPONS|B|L|T| ES

Syracuse University is an academic community and all
persons-students, faculty, administrators and staff-share
responsibilities for its growth and continued welfare. As
members of the University community, students can reasonably
expect that all members ofthe University community will
respect the following rights.

Al| members of the University community are further
encouraged to endorse, support, and abide by the values
expressed within these rights, which this community has
deemed fundamental to its mission and integral to its growth.

1. SPEECH/EXPRESS|ON/PRESS

Students have the right to express themselves freely on
any subject provided they do so in a mannerthat does
not violate the Code of Student Conduct. Students in
turn have the responsibility to respect the right of all
members of the University to exercise these freedoms

2. NON-DlSCRlMlNATlON

Students have the right not to be discriminated against
by any agent or organization of Syracuse University

for reasons of age, creed, ethnic or national origin,
gender, pregnancy, disability, marital status, age,

race, color, veteran status, military status, religion,
sexual orientation, domestic violence status, genetic
information, gender identity and gender expression,
perceived gender or any other protected class as
described by law. |n their individual roles as members of
student organizations, students have the responsibility 9'
not to discriminate against others.

3. ASSEMBLY/PROTEST

Students have the right to assemble in an orderly manner
and engage in peaceful protest, demonstration, and
picketing which does not disrupt the functions ofthe
University, threaten the health or safety of any person,
or violate the Code of Student Conduct.

4. REL|G|ON/ASSOCIAT|ON

Students have the right to exercise their religious
convictions and associate with religious, or other
organizations of their choice in University facilities
provided they do so in a manner that respects the rights
of other members of the community and complies

with the Code of Student Conduct. Students have the
responsibility to respect the rights of other members

of their University community to free exercise of their
religious convictions and to free association with
organizations of their choice.

5. PRlVACY/SE|ZURE

Students have the right of privacy and to be free from
unreasonable searches or unlawful arrest on University

10.

property and within their campus residences Students
have the responsibility to respect the privacy of other
members ofthe University community in their person
and in their place of residence.

ACADEM|C PURSU|TS

Students have the right to accurate and plainly stated
information relating to maintenance of acceptable
academic standing, graduation requirements, and
individual course objectives and requirements Students
can expect instruction from designated instructors at
appointed class times and reasonable access to those
instructors. Students have the responsibility to attend
class and know their appropriate class requirements.

QUAL|TY ENV|RONMENT

Students have the right to expect a reasonably safe
environment supportive of the University’s mission
and their own educational goals. Students have the
responsibility to protect and maintain that environment
and to protect themselves from all hazards to the extent
that reasonable behavior and precaution can avoid risk.

GOVERNANCE/PART|C|PAT|ON

Students have the right to establish representative
governmental bodies and to participate in University
governance in accordance with the rules and regulations
of the University. Students who accept representative
roles in the governance of the University have the
obligation to participate responsibly.

FUNDAMENTAL FA|RNESS

Students have the right to written notice and the
opportunity for a hearing before any change in status is
incurred for disciplinary reasons unless a significant threat
to persons or property exists. Students have the right to
fundamental fairness before formal disciplinary sanctions
are imposed by the University for violations of the

Code of Student Conduct--as provided in the published
procedures of the University’s Student Conduct System
or other official University publications

CONFlDENTlAL|TY

Students have the right to access and control access

to their educational records as provided in the federal
Fami|y Educational Rights and Privacy Act, also known
as the Bucl<ley Amendment. These include the rights

to review and challenge the content of educational
records, to control disclosure of personal and academic
information to third parties, and to limit the routine
disclosure of all or some information defined as
“directory information” by the Act.1

The above statement is also true for international students and
scholarsl except where specified by the legislation, rules and
regulations governing the particular visa status

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SYRACUSE UN|VERS|TY
CODE OF STUDENT CONDUCT

A|l Syracuse University students are expected to conduct
themselves in a manner that supports and promotes the
educational mission of the University. lntegrity, respect for one
another and others’ property, and a commitment to intellectual
and personal growth in a diverse population are values deemed
fundamental to our community.

The Code of Student Conduct applies to all students at Syracuse
University. Violations can occur either on or off campus and
individuals or collective groups can be held accountable

Syracuse University considers the following behavior, or
attempts thereof, by any student or student organization,
Whether acting alone or with any other persons, to violate the
Code of Student Conduct:

1. Physica| harm or threat of physical harm to any person
or persons, including, but not limited to: assault, sexual
abuse, or other forms of physical abuse,

2. Harassment-whether physical, verbal or electronic,
oral, written or video-which is beyond the bounds
of protected free speech, directed at a specific
individual(s), easily construed as “fighting words,” or
likely to cause an immediate breach of the peace.

3. Conduct- whether physical, verbal or electronic, oral,
written or video-which threatens the mental health,
physical health, or safety of any person or persons
including, but not limited to hazing, drug or alcohol
abuse, bullying or other forms of destructive behavior.

4. Academic dishonesty,2 including but not limited to
plagiarism and cheating, and other forms of academic
misconduct, for examp|e, misuse of academic resources
or facilities, misuse of computer software, data,
equipment or networks

5. lntentional disruption or obstruction of lawful activities
of the University or its members including their exercise
of the right to assemble and to peaceful protestl

6. Theft of or damage to University, personal, public, or
private property/services or illegal possession or use of
the same.

7. Forgery, alteration or fabrication of identification cards,

records, grades diplomas, University documents,
possession of falsified identification cards or
misrepresentation of any kind to a University office,
University official, or law enforcement

8. Unauthorized entry, use, or occupation of University
facilities that are locked, closed or otherwise restricted
as to use.

2 Cases involving academic dishonesty are handled by the Office of

Academic lntegrity.

9. Disorderly conduct including, but not limited to, public
intoxication. lewd. indecent or obscene behavior. iibel.
slander or illegal gambling.

10. illegal use, possession, purchase, distribution,
manufacture or sale of alcohol, drugs or controlled
substances or any other violation of the Syracuse
University Policy on Alcoho|, Other Drugs, and Tobacco.

1 1. Failure to comply with the lawful directives of University
officials who are performing the duties of their office,
especially as they are related to the maintenance of
safety or security.

12. Unauthorized possession or use of any weapon,
including: firearms, BB-guns, airsoft guns, air rifles,
explosive devices, fireworks, or any other dangerous
illegal, or hazardous object or materia|, and improper
use as a weapon of any otherwise permitted object or
material

13. lnterference with or misuse of fire alarms, blue lights,
elevators or other safety and security equipment or
programs

14. Violation of any federal, state, or local law which has a
negative impact on the well-being of Syracuse University
or its individual members

15. Violation of University policies, rules or regulations that
are published in the Student Handbook, or other official
University publications or agreements

Culpability is not diminished for acts in violation of this Code
that are committed in ignorance of the Code or underthe
influence of alcohol, illegal drugs or improper use of controlled
substances

Other policies of the University may be found on the
Syracuse University website and in other University
publications

SYRACUSE UN|VERS|TY POL|CY

ON SEXUAL ASSAULT, SEXUAL
HARASSMENT, STALK|NG OR DAT|NG
OR DOMEST|C VlOLENCE

Syracuse University is committed to the maintenance of an
environment which is supportive of its primary educational
mission and free from all exploitation and intimidation The
University does not tolerate rape, sexual assault, domestic
or dating violence, stalking, sexual coercion and non-contact
sexual abuse such as voyeurism, and sexual exploitation or
other forms of sexual violence or non-consensual sexual
activity. Prohibited behaviors include:

1. Harassment - intentional, unwanted and unwelcome
words or conduct directed at a specific person that
alarms, threatens or causes fear for that person. Sexual
harassment is a form of sexual discrimination lt is
unwelcome behavior of a sexual nature that relates to

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the gender, sex or sexual identity of an individual lt

has the purpose or effect of creating an intimidating or
hostile environment Sexuai harassment includes a full
range of coercive and unwelcome behaviors, such as
unwelcome sexual advances request for sexual favors,
and other verba|, visual or physical conduct of a sexual
nature, including rape and other forms of sexual assault,
sexual coercion and non-contact sexual abuse such as
voyeurism and sexual exploitation

2. Sexuai assault - any actual or attempted nonconsensual
sexual activity including, but not limited to: sexual
intercourse, or sexual touching, committed with
coercion, threat, or intimidation (actuai or implied)
with or without physical force; exhibitionism or sexual
language of a threatening nature by a person(s) known
or unknown to the reporting individual. Forcible
touching, a form of sexual assauit, which is defined as
intentionaliy, and for no legitimate purpose, forcibly
touching the sexual or other intimate parts of another
person for the purpose of degrading or abusing such
person or for gratifying sexual desires

Rape - sexual intercourse without consent, committed
with coercion, threat, or intimidation (actuai or implied),
with or without physical force by a person(s) known or
unknown to the reporting individual Sexuai intercourse
can involve anai, oral, or vaginal penetration, no matter
how siight.

intoxication ofthe respondent cannot be used as a
defense to an alleged incident involving sexual assault.

3. Staiking - intentionaliy, and for no legitimate purpose,
engaging in a course of conduct directed at a person
knowing (or should reasonably know) that such conduct
is likely to cause reasonable fear of material harm or
does cause substantial harm to the other person or that
person's family or another party of their acquaintance.
This includes cyber stalking-using technology to staik
another person

4. Dating violence and domestic violence - patterns of
behavior in which an individual uses physical violence,
coercion, threats, intimidation, isolation or other forms
of emotionai, sexuai, verbal and/or economic abuse to
control their current or former intimate partner.

5. it is against University policy retaliate against a person,
either directly or via a third party, for making a complaint
of sexual violence or any kind of harassment or
discrimination.

The Syracuse University Definition of Consent

Affirmative consent is a knowing, voluntary and mutual decision
among ali participants to engage in sexual activity. Consent can
be given by words or actions, as long as those words or actions
create clear permission regarding willingness to engage in the
sexual activity. Siience or lack of resistance, in and of itseif, does
not demonstrate consent. The definition of consent does not

vary based upon a participant’s sex, sexual orientation, gender
identity, or gender expression

Consent to any sexual act or prior consensual sexual activity
between or with any party does not necessarily constitute
consent to any other sexual act. Consent is required regardless

of whether the person initiating the act is under the influence

of drugs and/or alcohol Consent may be initially given but
withdrawn at any time. Consent cannot be given when a person is
incapacitated, which occurs when an individual lacks the ability to
knowingly choose to participate in sexual activity. incapacitation
may be caused by the lack of consciousness or being asleep,
being involuntarily restrained, or if an individual otherwise cannot
consent. Depending on the degree of intoxication, someone

who is under the influence of aicohol, drugs, or other intoxicants
may be incapacitated and therefore unable to consent. Consent
cannot be given when it is the result of any coercion, intimidation,
force, or threat of harm. When consent is withdrawn or can no
longer be given, sexual activity must stop.

Amnesty for Reporting individuals

The health and safety of every student at Syracuse University
is of utmost importance. Syracuse University recognizes that
students who have been drinking and/or using drugs (whether
such use is voluntary or involuntary) at the time that violence,
including, but not limited to domestic violence, dating violence,
stalking, or sexual assault occurs may be hesitant to report such
incidents due to fear of potential consequences of their own
conduct. Syracuse University strongly encourages students to
report domestic violence, dating violence, stalking or sexual
assault to institution officials A bystander acting in good faith
or a reporting individual acting in good faith that discloses

any incident of domestic violence, dating violence, stalking,

or sexual assault to Syracuse University’s officials or law
enforcement will not be subject to Syracuse University’s Code
of Student Conduct for violations of alcohol and/or drug use
policies occurring at or nearthe time of the commission of the
domestic violence, dating violence, stalking, or sexual assault

Bill of Rights
Aii faculty, staff and students have the right to:

1. Make a report to local law enforcement and/or state
police.
2. Have disclosures of domestic violence, dating violence,

stalking and sexual assault treated seriousiy.

3. Make a decision about whether or not to disclose a
crime or violations and participate in the judicial or
conduct process and/or criminal justice process free
from pressure by the institution

4. Participate in a process that is fair, impartia|, and
provides adequate notice and meaningful opportunity to
be heard.

5. Be treated with dignity and to receive from the

institution courteous, fair and respectful health care and
counseling services where available.

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6. Be free from any suggestion that the reporting individual
is at fault when these*crimes and violati'onsare
committed, or should have acted in a different manner to
avoid such crimes or violations

7. Describe the incident to as few institutional
representatives as practicable and not be required to
unnecessarily repeat a description of the incident.

8. Be protected from retaliation by the institution, any
student, the accused or the respondent and/or their
friends, family and acquaintances within the jurisdiction
of the institution

9. Access to at least one level of appeal of a determination

10. Be accompanied by an advisor of choice who may assist
and advise a reporting individual, accused or respondent
throughout the judicial or conduct process including
during all meetings and hearings related to such process

11. Exercise civil rights and practice of religion without
interference by the investigative, criminal justice, or
judicial or conduct process of the institution

lf a Student Experiences Sexual or Reiationship Vioience

The Sexual and Reiationship Vioience Response Team at the
Counseiing Center 315.443.4715, 200 Wainut Place, provides
privileged and confidential support, advocacy, and counseling
for survivors of sexual assault and can be accessed 24 hours,
seven days a week.

Shouid a student impacted by sexual assault, relationship
violence, sexual harassment or stalking choose to

file a formal compiaint, the following resources are available for
reporting:

Department of Public Safety, 005 Sims Haii, 315.443.2224
Tit|e |X Coordinator, 005 Steeie Hail, 315.443.0211

Syracuse Poiice Department, 511 South State Street,
315.435.3016

New York State Police, 24-Hour dedicated hotiine,
1.844.845.7269

Anonymous reporting is available: “TlPS” at
315.443.TiPS (8477) or oniine: publicsofety.syr.edu.

SYRACUSE UN|VERS|TY ANTi-HAZ|NG
POL|CY

Syracuse University is dedicated to promoting a safe and
healthy campus environment for its students, faculty, staff

and visitors in addition, Syracuse University is committed

to promoting an environment that fosters respect for the
dignity and rights of ali its community members As such, the
University will not tolerate hazing activities by any individuals
groups, teams or recognized student organizations For more
information regarding Syracuse University’s Statement of
Student Rights and Responsibiiities call the Office of Student
Rights and Responsibiiities at 315.443.3728 or the Office

of the Senior Vice President for Enroliment and the Student
Experienceat 315.443.4263 for more information

Enforcement: Syracuse University wiii enforce this policy
through internal disciplinary procedures the external
prosecution of alleged offenders, or both. individuals who
participate in acts of hazing will be held accountable under this
policy and the Code of Student Conduct. For more information
regarding the Code of Student Conduct, call the Office of
Student Rights and Responsibiiities at 315.443.3728.

Definitions (as of May 21, 2002): Hazing is punishable under
New York State Law as foilows:

1. New York Penai Law 120.16; Hazing in the First
Degree: A person is guilty of hazing in the first degree
when, in the course of another person’s initiation into
or affiliation with any organization, he intentionally
or recklessly engages in conduct which creates a
substantial risk of physical injury to such other person or
a third person and thereby causes injury. Hazing in the
First Degree is a class A misdemeanor.

2. New York Penai Law 120.17; Hazing in the Second
Degree: A person is guilty of hazing in the second
degree when, in the course of another person's initiation
or affiliation with any organization he intentionally
or recklessly engages in conduct, which creates a
substantial risk of physical injury to such other person or
a third person Hazing in the second degree is a violation

in addition, Syracuse University defines hazing to include
any action that intentionally or recklessly causes or poses
a substantial risk of harm to the mental or physical health
or safety of one or more persons Subjecting any person to
and/or encouraging any person to commit an act that violates
human dignity, the Code of Student Conduct, or the law for the
purpose of initiating, promoting, fostering, or confirming any
form of affiliation with a group or organization is prohibited.
The express or implied consent of participants or reporting
individuals will not be a defense.

Examples: Examples of hazing inciude, but are not limited

to: forced consumption of alcohol or other substances sleep
deprivation, threats of harm, actual physical harm (e.g.,
paddling, beating, branding), performing any service or action
under coercion or duress

Sanctions: Hazing poses substantial risks to the safety

and weil-being of individual students and the University
community. As such, violations of this policy will result in
referral to the Office of Student Rights and Responsibiiities
Possibie disciplinary action may inciude, but is not limited to,
any or all of the foilowing: suspension or expulsion from the
University, loss of University recognition and privileges referral
to law enforcement, participation in educational programs,
and other educational or remedial action appropriate to the
circumstances Sanctions imposed under this policy do not
diminish or replace the penalties available under generally
applicable federai, state, and local laws

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Reporting: To make a report of hazing, or to determine whether
a proposed activity constitutes or will constitute hazing, contact
the Department of Public Safety at 315.443.2224, the Office
of Fraternity and Sorority Affairs at 315.443.2718, the Office
of Student Rights and Responsibiiities at 315.443.3728, or

the Office of the Senior Vice President for Enroliment and the
Student Experience at 315.443.4263. Anonymous reports
also can be made to the Department of Public Safety through
the Siient Witness Progrom or by calling 315.443.TiPS (8477).

SYRACUSE UN|VERS|TYSTUDENT CONDUCT
SYSTEM PROCEDURES 2017 - 2018

PART 1. ORGAN|ZAT|ON AND PH|LOSOPHY

1.1 The Trustees and Chancellor of Syracuse University
have delegated authority to the University Student
Conduct System to adjudicate cases alleging violations
of the Code of Student Conduct by Syracuse University

students

1.2 The procedures included herein apply to the resolution

of social misconduct and related matters

1.3 Supervision ofthe University Student Conduct System
is the responsibility ofthe SeniorVice President for
Enroliment and the Student Experience. implementation
of these procedures is the responsibility of the Director
of the Office of Student Rights and Responsibiiities or a
designee, in cooperation with, the Director of Residence
Life, the Director of Health Services, the Director of

the Counseiing Center, the Director of Fraternity and
Sorority Affairs, the Director of Recreation Services and
the Title lX Coordinator or their respective designees

1.4 Syracuse University is an institution of higher learning
where individual growth and development are fostered,
excellence is pursued, and the highest standards of
integrity are expected in ali areas of iife. Syracuse
University is committed to providing an environment
where persons are safe, property is secure, individual
rights of ali persons are respected, and education of the

highest quality is achieved

The Code of Student Conduct outlines the behavior
that is expected of all students at Syracuse University.
Having voluntarily enrolled at Syracuse University, all
students have entered into an agreement to abide by the
rules and regulations set forth in the Code of Student
Conduct. Each student is responsible for conforming

his or her conduct to the requirements of this code and
applicable federal, state and local laws.

1.5

1.6 Syracuse University considers its Code of Student
Conduct as a statement of minimal expectations and
seeks to foster a commitment to the highest standards
of ethical behavior by the coherent, consistent and fair
manner in which it enforces its rules and regulations

The University views its student conduct process as

a learning experience that is intended to result in the

 

growth and understanding ofimiividuai responsibilities
on the part of ali persons

The decision to pursue allegations of student misconduct
through the University Student Conduct System is
deemed acceptance of its philosophy that any potential
sanctions will be designed to address the safety and
security of persons and property and to educate students
with regard to higher standards of behavior.

Vioiations of the Code of Student Conduct will be
adjudicated by the University Student Conduct
System, which is designed to reflect and to support the
educational mission of the institution and ensure the fair
and equitable treatment of ali individuals and groups
charged with or reporting student misconduct

PART 2. |UR|SD|CT|ON

2.1 The University Student Conduct System has jurisdiction
over ali alleged violations of the Code of Student
Conduct by any student or recognized student
organization that may be brought to its attention
jurisdiction of the University Student Conduct System
extends to alleged misconduct that takes place on
University owned or controlled property or on property
close to the University, including the Greek chapter
houses; alleged misconduct that takes place at any
University sponsored event; and alleged misconduct
that has a significant impact on the educational mission
and well-being of the University community that takes
place at any location off campus

2.2 The University Student Conduct System has
jurisdiction over complaints against students alleging
sex discrimination including sexual and gender-based
harassment assault and violence, The Syracuse
University Poiicy on Sexual Assault, Sexual Harassment,
Stalking or Dating or Domesti»: Vioience covers ali
University programs and activities The University
processes sex discrimination complaints regardless of
where the alleged conduct occurs to determine whether
the conduct occurred in the context of its educational
program or if it had continuing effects on campus or in an
off-campus program or activity.

2.3 University student conduct proceedings are
administrative in nature and independent of any criminal
and/or civil legal proceedings that may be concurrently
in process University student conduct proceedings are
intended to enforce the Code of Student Conduct at
Syracuse University although the conduct in question
may be simultaneously in violation of federal, state

or local laws The University may notify local and
federal authorities when a crime is alleged to have
been committed, but such notification will not modify
the University’s authority to adjudicate the alleged
misconduct through its own student conduct system.

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PART 3. ROLES OF ADM|N|STRATORS

University administrators assume a variety of roles in the
informal and formal resolution of most conduct matters
When a conduct complaint has been initiated, the roles of the
University administrators are as outlined below.

3.1 The Office of Student Assistance is responsible for the
coordination of support and advisory resources that are
available to complainants and respondents involved in
the University Student Conduct System. The Office of
Student Assistance will guide parties to referral sources
for on-campus counseling and to a pool of community
members that have volunteered and been trained
to provide procedural advice or personal support to
participants in the University Student Conduct System.

3.2 The Graduate Assistants and Practicum Assistants
are graduate students who educate complainants
and respondents with regard to University Student
Conduct System procedures act as case managers in

reaching informal resolutions of conduct complaints; and

manage student referrals to University and community

resources designed to assist students in fulfilling conduct

sanctions

3.3 The Student Conduct Advisors are professional staff
members who act as case managers in reaching informal
resolution of student conduct complaints; advise
the University Conduct Board; design and provide
training and educational Programming to the University
community; and offer follow up support for students
subsequent to the resolution of their conduct cases

3.4 The Associate Director of Student Rights and
Responsibiiities acts as a case manager; supervises the

assessment activities of the Office of Student Rights and

Responsibiiities; advises the University Appeais Board;
serves as an administrative hearing officer; provides
training, advising, and educational programming to
members of the University community concerning the
University Student Conduct System; and acts on behalf
of the Director of Student Rights and Responsibiiities in
their absence.

3.5 The Director of Student Rights and Responsibiiities
directs the activities of the University Student Conduct
System and acts as a case manager. The Director of
Student Rights and Responsibiiities approves informal
resolutions to conduct compiaints; appoints University
Conduct Board members; assigns case managers; serves
as an administrative hearing officer; confirms University
Conduct Board decisions; advises or arranges for the
legal advisement of the University Appeais Board; and
assures that the overall functioning of the University
Student Conduct System is consistent with applicable
laws and regulations

3.6 The SeniorVice President for Enroliment and the
Student Experience or designee is responsible for the

overall supervision of the University Student Conduct
System, the imposition of interim suspensions the
appointment of University Appeais Board members and
the confirmation of University Appeais Board decisions
except as otherwise provided herein

PART 4. iNTERlM SUSPENS|ON, NO CONTACT
ORDERS AND OTHER ADM|N|STRAT|VE ACT|ONS

4.1 The status of a respondent will not be changed while a
case is pending, unless the Director of Student Rights
and Responsibiiities in consultation with the Senior Vice
President for Enroliment and the Student Experience,
or a designee, determines that an interim suspension is
required to promote the safety and weil-being of the
University community.

4.2 A student who is suspended on an interim basis pending
the outcome of proceedings against them will be given
the opportunity to be heard by the University Appeais
Board on the merits of the decision to impose the
interim suspension within three (3) University business
days of receipt by the Office of Student Rights and
Responsibiiities of the student’s written request for such
a hearing. Such a request must be made by the student
within 30 University business days of the imposition
ofthe interim suspension if no such request is made,
the interim suspension will remain in effect pending a
hearing or informal Resoiution meeting on the merits of
the conduct case. Aii recommendations of the University
Appeais Board reviewing the imposition of an interim
suspension are confirmed by the Senior Vice President
for Enroliment and the Student Experience or their
designee, and when confirmed, the decision is final and
no further review of the interim suspension status is
availabie.

4.3 Where an interim suspension is imposed in a case
involving the arrest of the respondent the University
may require the associated criminal matterto be
resolved in full prior to the pending conduct case being
heard on its merits in cases of sexual misconduct the
University may be required to proceed with the conduct
case prior to resolution of an associated criminal matter.
in circumstances where a criminal matter remains
pending or in other unusual circumstances including
those described herein at Sections 4.4 and 7.4, students
who still seek to have their cases heard on the merits
must file a written request for a meeting before the
Director of Student Rights and Responsibiiities or a
designee, who will attempt an informal Resoiution. if
informal Resolution is unsuccessful, the Director of
Student Rights and Responsibiiities will determine if
the case will be referred to a University Conduct Board,
Administrative hearing, or held until the criminal case
concludes This determination will be made on case-by-
case basis

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Unless modified pursuant to Part 13 of these

affiliated party, and from participating in any

 

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procedures University Londuct Board i'iearings wiiF
conform substantially to the procedures outlined at
Parts 7 through 9 herein. The results of the proceedings
may be appealed in writing to the University Appeais
Board in accordance with Part 12 of these procedures

Certain administrators have been granted authority

to take specific administrative actions to promote the
safety and well-being of members of the University
community and to enforce other administrative policies

a. The Director of Residence Life, or a designee, is
authorized to respond to alleged violations of Office
of Residence Life Residential Policies consistent with
the policies published by the Office of Residence
Life, These policies and procedures are independent
of the University Student Conduct System.
Questions about the Office of Residence Life
Residential Poiicies process should be directed to the
Office of Residence Life, 111 Waveriy Avenue, Suite
200, or 315.443.3637.

The Director of Residence Life, or a designee, is
also permitted to respond on an emergency basis
to behavioral incidents alleged to violate the Code
of Student Conduct occurring within or otherwise
impacting the safety of any residential unit by
relocating a student within or removing a student
from University housing on a temporary basis
pending fulfillment of specific conditions and/

or review of the matter by the University Student
Conduct System.

b. The Director of Health Services and the Director
of the Counseiing Center are authorized to
respond to significant psychological, physical, or
substance-abuse related conditions or other student
behavior that poses a direct threat to others A
student who fails to attend and actively participate
in an assessment educational program, and/or
other intervention as required or who engages
in behaviors that pose a direct threat to others
may be withdrawn for medical reasons from the
University. The Associate Vice President for Health
and Weilness, upon the recommendation of the
Director of the Counseling Center or the Director
of Health Services, is authorized to withdraw a
student for medical reasons Such withdrawal will
extend until the student demonstrates completion
of an assessment educational program and/or other
intervention to the satisfaction of the Director of
Health Services or the Director of the Counseiing
Center. During the period of such a withdrawal for
medical reasons the student is prohibited from
entering onto Syracuse University owned, operated,
or controlled property, including but not limited to
University-owned land leased to a non-University

course or program offered by Syracuse University.
in addition, the student must demonstrate "good
citizenship” to the Director of Student Rights and
Responsibiiities who, in consultation with the Senior
Vice President for Enroliment and the Student
Experience, or a designee, will determine whether
and under what conditions the student will be
permitted to return to the University.

c. The Title lX Coordinator, or a designee, is authorized
to respond to alleged violations of Title |X or
other federal or state discrimination laws. This
includes providing interim relief such as removing a
student from a class on a temporary basis, issuing
a temporary no contact order or other actions
consistent with the University’s responsibilities
Questions about Title lX should be directed to Equai
Opportunity, inclusion and Resoiution Services, 005
Steeie Hali, 315.443.0211 or titieix@syr.edu.

d. The Director of Recreation Services, or a designee,
is authorized to respond to alleged violations of the
Department of Recreation Services published and/
or posted policies These policies and procedures
are independent of the University Student Conduct
System. Questions about policies ofthe Department
of Recreation Services should be directed to the
Department of Recreation Services, 241 Archboid
Gym, 315.443.4386.

e. The Director of Fraternity and Sorority Affairs
or a designee, is authorized to respond to alleged
violations of policies of the Office of Fraternity and
Sorority Affairs consistent with published policies
and procedures These policies and procedures are
independent of the University Conduct System.
Questions about policies of the Office of Fraternity
and Sorority affairs should be directed to the Office
of Fraternity and Sorority Affairs 131 Schine
Student Center, 315.443.2718.

Except in emergency circumstances related to a medical or
psychological condition, or in situations where a student is in
violation of iocal, state, or federal laws or regulations designed
to safeguard the public’s health, a student is entitled to an
opportunity for a hearing before a hearing officer prior to
withdrawal for medical reasons pursuant to this subsection
Such a hearing will be held in accordance with the procedures
described above in Section 4.3, except that the hearing officer
in such a case will be advised by an appropriately trained
professional The results of such a hearing may be appealed in
writing to the University Appeais Board in accordance with Part
12 of these procedures

in emergency medical or psychological circumstances students
may be removed immediately from the University pursuant to
Part 17 of these procedures

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in certain circumstances a Temporary No Contact
Order (NCO) may be issued by the Department of
Public Safety, the Office of Residence Life, or the Title
lX Coordinator as a temporary directive to prohibit
communication to or among designated students when
there is reason to believe that continued contact is not
in the best interest of the involved students to promote
their safety and security.

No Contact Orders prohibit ali forms of contact
including, but not limited to, contact via social media,
contact via a third party and/or in person contact in
certain circumstances as indicated on the no contact
order, a student who receives a No Contact Order that
is issued on behalf of another student is required to
remove themselves from any public area in which both
individuals are present

No Contact Orders will not be considered for removal
or amendment if ali elements of the written appea¥ are
not addressed or if there is evidence of the potential for
future negative incidents between listed parties

4.11 Vioiations of No Contact Orders by the student to
whom it is issued may result in the student’s suspension

on an interim basis from Syracuse University.

4.12 No Contact Orders are not part of a student’s conduct
file unless there is a related conduct case filed with the

Office of Student Rights and Responsibiiities.

PART 5. OVERV|EWOFTHE CONDUCT PROCESS

NOTE: FOR CASES iNVOLVlNG SEXUAL ASSAULT,
STALK|NG, GENDER-RELATED HARASSMENTOR DATlNG
OR DOMESTlC ViOLENCE, SEE PARTlO, F! 14, FOR
OVERViEWOF PROCESS

if a No Contact Order is issued, both parties will
receive a written copy of the Order and both parties are
expected not to have contact with one another.

5.1

Temporary No Contact Orders will be reviewed by

the Director of the Office of Student Rights and
Responsibiiities or a designee, within two business day
of its issuance. The Director, or designee, will determine
if there is a need to continue the order, amend the order,
or remove the order. Both parties will be notified in
writing of the decision of the Director, or the designee.

No Contact Orders issued by the Office of Student
Rights and responsibilities are permanent unless
amended or rescinded by the Director of the Office of
Student Rights and Responsibiiities or a designee, by the
University Conduct Board or by the University Appeais
Board after the adjudication of a conduct case.

No Contact Orders may be removed or amended
through an appeal to the Office of Student Rights

and Responsibiiities ln the event of an appeai, either
involved student may submit a written request to have
the No Contact Order removed or amended. The letter
must inciude:

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a. A description of the events resulting in the No
Contact Order being issued.

b. Names ofthose listed on the No Contact Order.

c. Reasons why the No Contact Order should be

removed or amended. 5 3
d, Plans to prevent any negative incidents from l

occurring between parties listed in the order.

e. Communication of the understanding that Syracuse
University is not responsible for negative behaviors
that may result from removal or amendment of the
No Contact Order if the individual requesting the
removal or amendment of the No Contact Order is
the person who requested its issuance.

5.4

A University Student Conduct System complaint

may be filed against any student or recognized

student organization by any member of the University
community. Complaints may be filed by a student,
faculty member, or staff member by filling out a
standard complaint form, which is available on the

web at studentconduct.syr.edu. A non-University
member may file a report with the Department of Public
Safety against a student that may result in a student
conduct complaint pursuant to this poiicy. A report by
a non-University member may be adjudicated if the
interests of the University community are sufficiently
implicated. All documentation and other information
associated with the complaint, e.g., Department of
Public Safety or police reports and witness statements
should be included with the standard complaint form
and submitted to the Office of Student Rights and
Responsibiiities l\/lore than one complaint may be filed
arising out of the same incident

The Office of Student Rights and Responsibiiities will
determine whether a complaint concerns students and/
or recognized student organizations and whether the
complaint concerns subject matter falling within the
jurisdiction of the University Student Conduct System. The
Office of Student Rights and Responsibiiities further will
determine whether the complaint demonstrates sufficient
information of wrongdoing to warrant further investigation
and/or commencement of the student conduct process

The standard of proof applied within the University
Student Conduct System is a preponderance ofthe
evidence, which requires a demonstration that it is “more
likely than not” that the respondent or recognized student
organization has violated the Code of Student Conduct.

Some allegations of student misconduct require
investigation prior to determining whether further student
conduct proceedings are warranted. As appropriate, the
University will conduct an investigation concerning the
allegations The investigation may be conducted by DPS

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or another appropriate University office or representative.
in cases involving ailegedccriminalcconduct;BPS*can

assist a complainant in making a criminal complaint A
complainant need not pursue a criminal complaint in

order to seek to hold the accused responsible through the
University’s student conduct system.

An individual may be permitted to withdraw a complaint
subsequent to filing if the Office of Student Rights

and Responsibiiities is satisfied that the compiainant’s
decision has not been influenced by pressure or
intimidation in the event that the complainant is
determined to have been influenced by pressure or
intimidation, or in other extenuating circumstances

or where the University’s interests would be served by
continuation of the case, the Senior Vice President for
Enroliment and the Student Experience, or designee,

or the Director ofthe Office of Student Rights and 5_7
Responsibiiities may appoint a University complainant
to continue the case.

Upon determining that the complaint is appropriate for
further processing, the Office of Student Rights and
Responsibiiities will contact the student or recognized
student organization The respondent or recognized 518
student organization will be offered an opportunity

to participate in an informal resolution meeting with a
case manager to discuss the allegations if a student or
recognized student organization does not attend the
meeting without prior notice to the Office of Student
Rights and Responsibiiities a decision may be rendered
in the student’s or organization’s absence. Complainants
do not attend informal resolution meetings with the
respondents but are informed ofthe outcome of these
meetings to the extent legally permitted

There are three possible results at this stage:

1. The student/organization is found to have no
responsibility and/or that there is insufficient basis to 5_9
proceed against the student if that occurs the case
does not proceed to a hearing; or

2. The student/organization accepts responsibility and
appropriate sanction(s) is/are agreed upon. if that
occurs the case is considered informally resolved; or

3. The student/organization does not accept
responsibility and the case manager determines
that the complaint warrants a hearing. if that occurs
the case proceeds to a formal hearing either before
the University Conduct Board or an administrative
hearing officer.

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Once an informal resolution is reached, the decision is
final and will only be revisited based on one or more of
the foilowing:

a. new information not reasonably available at the time
of the informal resolution, the absence ofwhich can
be shown to have had a detrimental impact on the
outcome of the informal resolution;

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b. procedural error that can be shown to have had a

detrimental impactorrtheoutcornepfthed'nformai
resolution;

c. errors in the interpretation of University policy so
substantial as to deny fair informal resolution;

d. grossly inappropriate sanction having no reasonable
relationship to the charges

in such a case, the student or student organization may
submit a written petition for reconsideration of the
case to the Director of the Office of Student Rights

and Responsibiiities within three (3) business days of
the informal resolution meeting. Requests for review
must be written and signed by the student. The decision
of the Director of the Office of Student Rights and
Responsibiiities upon reconsideration is finai.

if an informal resolution cannot be reached, and
assuming the case manager finds that the complaint
warrants a hearing, the case will be assigned to an
appropriate hearing officer or hearing Board for formal
resolution. The hearing process is described in Parts 6
through 9 herein.

Respondents may be advised during the informal
resolution meeting by a procedural advisor. Persons who
may serve as procedural advisors are limited to full-
time students faculty, and staff of Syracuse University.
Parents/guardians are not permitted to attend informal
resolution meetings and are not permitted to serve as
procedural advisors

The Office of Student Assistance maintains a pool of
trained University community members who may be
available to provide procedural advice and support
Assignment of a procedural advisor from the Office of
Student Assistance is based on availability and is not
guaranteed.

No attorney who is not also a full-time member of the
Syracuse University faculty, staff, or student body will
be permitted to participate in the conduct process on
behalf of the respondent except where criminal or civil
proceedings are also pending. When criminal or civil
proceedings are pending the respondent may be advised
by an attorney, but the individual student or student
group must represent themselves during the informal
resolution meeting.

Attorneys for the respondent when permitted to
participate, are limited to the role of the procedural
advisor. Procedurai advisors have no standing in
University Student Conduct System proceedings
except to provide advice to their respective parties in a
quiet, non-disruptive manner. Advisors, and attorneys
when applicable, do not represent or speak fortheir
respective parties Any advisor who fails to conform his
or her behavior to these requirements will be removed
from the proceedings and barred from acting as a

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procedural advisor in future University Student Conduct
System proceedings in such circumstances the case
manager will determine whether to proceed with the
informal resolution meeting without the presence of

the procedural advisor or to forward the case to the
Director of Student Rights and Responsibiiities who will
determine if the case will be forwarded to the University
Conduct Board for formal resolution

5.11 Students who need accommodations for a disability
should contact the Office of Disability Services (ODS),
located in Room 309 of 804 University Avenue, or call
315.443.4498 for an appointment to discuss their
needs and the process for requesting accommodations
before going through the informal resolution process
ODS is responsible for coordinating disability-

related accommodations and will issue students with
documented Disabilities Accommodation Authorization
Letters, as appropriate, Since accommodations may
require early planning and are not provided retroactiveiy,
students should contact ODS as soon as possible

if a student is receiving on-going supportive services
from a Syracuse University office, the student is
Weicome to discuss their case with their counselor/
advocate prior to attending an initial meeting with
OSRR. Students may ask their counselor/advocate to
serve as a procedural advisor, but counselors from the
University’s Counseiing Center may not be able to serve
in this capacity.

5.12 Recording devices (audio and/orvideo) of any kind
are not permitted for use during informal resolution

meetings

PART 6. FORMAL HEAR|NGS

NOTE: FOR CASES iNVOLVlNG SEXUAL ASSAULT,
STALKlNG, GENDER-RELATED HARASSMENTOR DATiNG
OR DOMESTiC ViOLENCE, SEE PARTlO, P. 14, FOR
OVERVIEWOF PROCESS

6.1 Cases involving minimum standard sanctions in which
the potential minimum status after a determination

of responsibility is either disciplinary reprimand

or disciplinary probation may be referred to an
administrative hearing involving a single hearing
officer. Processes for these hearings will conform to the
processes as outlined in Parts 7 - 9 ofthis Handbook,
Appeais from decisions of administrative hearing
officers that meet the criteria set forth in Part 12 are

heard by the University Appeais Board

6.2 The University Conduct Board is comprised of five
(5) students selected from a pool of at least ten (10)
students When the respondent is an undergraduate
student, at least two (2) Board members are
undergraduate students; when the respondent is a
graduate student, at least two (2) Board members

are graduate students The University Conduct Board

is advised by a trained designee of the Director of
Student Rights and Responsibiiities or, in cases of
felony arrest, by the Director of Student Rights and
Responsibiiities the Associate Director of Student
Rights and Responsibiiities or an attorney appointed by
the Director of Student Rights and Responsibiiities.

6.3 The University Conduct Board may hear any case of
alleged violations of the Code of Student Conduct filed
against an individual student or student organizations
except cases of academic dishonesty. The University
Conduct Board may impose sanctions up to and
including expulsion from the University and may design
sanctions that are educational and/or remedial specific
to the facts of a given case, Standard Sanctioning
Guidelines for specific offenses and the applicability of
those guidelines are included in Part 11. Decisions of the
University Conduct Board are confirmed by the Director
of Student Rights and Responsibiiities or a designee.

6.4 Appeais from decisions of the University Conduct Board
that meet the criteria set forth in Part 12 are heard by

the University Appeais Board

PART 7. RlGHTS OF COMPLA|NANTS
AND RESPONDENTS

NOTE: FOR CASES iNVOLVlNG SEXUAL ASSAULT,
STALKiNG, GENDER-RELATED HARASSMENTOR DAT|NG
OR DOMESTiC ViOLENCE, SEE PART1 O, P. 14, FOR
OVERViEWOF PROCESS

7.1 The reporting individual or University office which files
a complaint that proceeds to a formal conduct process is
the “complainant". The student or student organization

against whom the complaint is filed is the “respondent”.

7.2 Prior to a formal hearing on the merits of a case, each
party (i.e., the complainant(s) and respondent(s)) will be
given written notice ofthe charges stating: the alleged
facts upon which the charges are based, the sections
ofthe Code of Student Conduct alleged to have been
violated, the procedures to be used in resolving the
charges and the date, time, and location of the hearing.
Notice will be emailed at least three (3) University
business days prior to the hearing to the respondent’s
syr.edu emaii address or in any other manner reasonable
designed to give notice to the student

7.3 Each party will be given an opportunity to be heard
before an impartial hearing Board or hearing officer in

a timely manner - usually within thirty (30) business
days of the filing of the written complaint Attendance
at hearings is limited to the hearing Board and its
advisor, and the parties immediately involved and their
procedural advisors Witnesses are permitted access to
the hearing room solely for the purpose of and duration

necessary to provide testimony.

7.4 Each party will have the opportunity to face the

opposing party and to ask questions indirectly through

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the hearing Board. The hearing Board has the discretion
to determine whether to permit questioning of witnesses
through the hearing Board Formai rules of evidence

do not apply. Any information or statement may be
admitted (inciuding hearsay) subject to the discretion of
the hearing Board chairperson

Hearing Boards may be advised at all times by an
attorney or other advisor. Parties may be advised during
the hearing by a procedural advisor. Persons who may
serve as procedural advisors are limited to full-time
students faculty, and staff of Syracuse University.
Parents are not permitted to serve as procedural
advisors nor can they attend hearings

The Office of Student Assistance maintains a pool of
trained University community members who may be
available to provide procedural advice and support
Assignment of a procedural advisor from the Office of
Student Assistance is based on availability and is not
guaranteed

No attorney who is not also a full-time member of the
Syracuse University faculty, staff, or student body will
be permitted to participate in the conduct process on
behalf of the complainant or the respondent except
where criminal or civil proceedings are also pending.
When criminal or civil proceedings are pending, both
the complainant and the respondent may be advised by
an attorney, but the individual parties remain primarily
responsible for conducting their own presentations
Attorneys for the complainant and the respondent,
when permitted to participate, are limited to the role
ofthe procedural advisor described below in Section
9.5. Any attorney who fails to conform his or her
behavior to these requirements will be removed from
the proceedings and barred from acting as a procedural
advisor in future University Student Conduct System
proceedings in such circumstances the hearing Board
will determine whether to proceed with the hearing
without the presence of the procedural advisor or to
forward the case to the Director of Student Rights and
Responsibiiities who will determine if the case will be
forwarded to a hearing officer for resolution or if another
Board will be convened

Students who need accommodations for a disability
should contact the Office of Disability Services (ODS),
located in Room 309 of 804 University Avenue, or call
315.443.4498 for an appointment to discuss their
needs and the process for requesting accommodations
before going through the informal resolution process
ODS is responsible for coordinating disability-

related accommodations and will issue students with
documented Disabilities Accommodation Authorization
Letters, as appropriate. Since accommodations may
require early planning and are not provided retroactiveiy,
students should contact ODS as soon as possibie.

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if a student is receiving on-going supportive services
from a Syracuse University officel the student is
welcome to discuss their case with their counselor/
advocate prior to attending an initial meeting with
OSRR. Students may ask their counselor/advocate to
serve as a procedural advisor, but counselors from the
University’s Counseiing Center may not be able to serve
in this capacity.

Each party may present objections to the participation
of any Board member for reason of conflict of interest
Any such objection will be ruled on by the chairperson,
or by vote of the majority of the Board, if the objection is
to the chairperson’s participation

Each party will have the opportunity to present relevant
testimony and/or information to the hearing Board on
his or her own behalf and the opportunity to respond

to testimony or information presented by other parties
Reievance of testimony will be determined by the
respective Board chairperson

An audio recording may be made of hearings involving
an associated felony arrest. Either party may request
that a written transcript of these recordings be made

at the expense of the requesting party or have access

to the recordings by arrangement with the Director of
Student Rights and Responsibiiities Printed transcripts
will be redacted by the Office of Student Rights and
Responsibiiities prior to being provided to the requesting
party in accordance with the Famiiy Educational Rights
and Privacy Act of 1974, as amended

Each party will receive written notice of the hearing
Board’s confirmed decision within five (5) University
business days after the hearing is concluded A hearing
is considered concluded at the point when all hearing
Board deliberations are complete.

Recording devices (audio and/orvideo) of any kind are
not permitted for use during University Conduct Board
hearings except as outlined in section 7.11.

PART 8. RESPONS|BIL|T|ES OF COMPLA|NANTS
AND RESPONDENTS

NOTE: FOR CASES iNVOLVlNG SEXUAL ASSAULT,
STALKiNG, GENDER-RELATED HARASSMENTOR DATlNG
OR DOMESTlC VlOLENCE, SEE PARTlO, P. 14, FOR
OVERVlEWOFPROCESS

8.1

it is the responsibility of each party to investigate,
prepare, and present his or her case before a hearing
Board or other body. This responsibility includes
identifying and presenting any witnesses or witness
statements The University Student Conduct System is
not authorized to compel the appearance of any witness
at a University Student Conduct System proceeding.
Simiiariy, neither party nor their representatives

are authorized to compel or attempt to compel the
appearance of any person at a University Student

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Conduct System proceeding

Aii parties are expected to appear at the hearing as
specified if either party fails to appear at the hearing,
the hearing Board may proceed with the hearing,
dismiss the complaint, or reschedule the hearing, as the
facts and circumstances of the case indicate. in cases
in which either party is unable to appear before the
Board as described in section 13.1, alternative means
for participation may be made available which may 9.2
include telephone or video conferencing. in such cases
individual parties may be required to supply and use
their own communication equipment and/or hardware.

Each party must act in a manner that is respectful of the 9.3
proceedings and the rights of ali individuals involved.

lt is the responsibility of each party to assure advisors
witnesses and other affiliates act in a manner that

is respectful of the proceedings and ali individuals

involved The Board chairperson shall retain the option

to discontinue the hearing and forward the case for
administrative resolution by the Director of Student

Rights and Responsibiiities or a designee, when the

behavior of any person has become an encumbrance

likely to have a detrimental impact on the outcome of

the hearing. 9.4

Aii parties are expected to answer pertinent questions
truthfully during the hearing or choose to remain silent

The Board may draw inferences from the statements

and silence of any person with respect to pertinent

questions Faise testimony by any person may give rise

to further disciplinary action or an enhancement of 9_5
sanction at the discretion of the Board.

At the hearing, each party must offer ali information

known or available to that they desire to be considered

Each party is responsible for calling witnesses to testify

on his or her behalf regarding the facts of the case

and for providing a list of potential witnesses This list

must be submitted to the Office of Student Rights

and Responsibiiities at least 24 hours in advance of

the hearing. Witness lists will be made available to the
opposing party by the Office of Student Rights and
Responsibiiities The hearing Board chairperson will 9'6
have the discretion to limit the number of witnesses to
be called by either party unless the Board chairperson
determines information is cumulative or irrelevant, or
would unnecessarily compromise the confidentiality of
the hearing.

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PART 9. HEAR|NG PROCEDURES

NOTE: FOR CASES iNVOLVlNG SEXUAL ASSAULT,
STALK|NG, GENDER-RELATED HARASSMENTOR DATiNG
OR DOMESTiC ViOLENCE, SEE PARTlO, P. 14, FOR
OVERViEWOF PROCESS

9.1

The purpose of the hearing is to provide the opportunity
for complainants and respondents to present ali

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relevant testimony and other information with regard

to alleged violations of the Code of Student Conduct.

it is the responsibility of the hearing Board to consider
impartially ali relevant testimony and other information,
determine the facts and impose appropriate sanctions
Decisions of the respective hearing Boards are subject to
review and confirmation by the appropriate University
officials as outlined in Part 3 above.

University Student Conduct System hearings are
administrative, rather than criminal or civii, in nature.
Ruies of evidence and the criminal standard of proof do

not apply.

University Student Conduct System hearings are
confidential and closed to persons not directly related

to the case. The results of University Student Conduct
System hearings are held confidential in accordance with
applicable iaw. The University reserves the right to correct
any misinformation with regard to University Student
Conduct System actions that may be circulated in the
media when the well-being of the community so requires
The University will publish data related to the activities
of the University Student Conduct System on a periodic
basis consistent with constraints imposed by law.

Complainants respondents and the University, as
represented by the respective hearing Boards, are the
principal parties in University Student Conduct System
proceedings Aii parties, procedural advisors witnesses
and hearing Board members are expected to maintain
the confidentiality of conduct system proceedings

Procedurai advisors including attorneys where
applicabie, have no standing in University Student
Conduct System proceedings except to provide advice
to their respective parties in a quiet, non-disruptive
manner. Advisors, and attorneys when applicabie, do not
represent or speak for their respective parties except
at the request ofthe Board chairperson Exciuding
interim suspension hearings requests for a procedural
advisor should be made at least 72 hours prior to the
hearing to the Office of Student Assistance via emaii at
studentossistonce@syr.edu.

Chairpersons appointed by the Director of Student
Rights and Responsibiiities or a designee, will preside at
each hearing.

The order of presentation at the hearing will be as
follows:

a. introductions and reading of the complaint/appeal
by the chairperson;

b. opening statements;

c. presentation of testimony/information/witnesses by
the compiainant;

d. presentation of testimony/information/witnesses by
the respondent;

9.8

9.9

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e. closing statement by the complainant;

sexual assault to Syracuse University’s officials or law

 

f. closing statement by the respondent

in cases involving felony arrest or in other appropriate
circumstances the order of presentation at the
hearing may be changed at the discretion ofthe Board

chairperson
10.3

The hearing Board members may ask questions at any
time subject to limitations of reievance, as determined
by the chairperson The parties may ask questions
indirectly through the Board chairperson subject to
reasonableness and reievance, as determined by the
chairperson Hearing Board decisions are made in
private and by a majority vote of the Board members Aii
hearing Board decisions are subject to confirmation by
the appropriate University official

Aii parties will be informed of the confirmed hearing
Board decision in writing within five (5) University
business days after the conclusion of the hearing. A
hearing is considered concluded when all hearing Board
deliberations are complete Decisions of the Board are
effective immediateiy, unless a written notice from either
party requesting a review by the University Appeais
Board has been received by the Office of Student Rights
and Responsibiiities Procedures for requesting a review
by the University Appeais Board are outlined in section
12 of this Handbook.

10.5

PART 10. ovERviEw oF THE coNDucT PRocEss

FoR cAsEs iNvoLviNG sequL AssAuLT,

sTALKiNG, GENDER-RELATED HARASSMENToR

oATiNG oR DoMEsTic vioLENcE 106

10.1

10.2

To file a formal complaint against a student alleging

any prohibited behaviors included in the Syracuse
University Poiicy on Sexual Misconduct, Gender
Reiated Harassment Staiking or Dating or Reiationship
Vioience an individual (compiainant) should contact
the University’s Title iX Coordinator, 315.443.0211. if
the complainant would like to file a criminal complaint
they should contact the Department of Public Safety,
315.443.2224.

The health and safety of every student at Syracuse
University is of utmost importance Syracuse University
recognizes that students who have been drinking

and/or using drugs (whether such use is voluntary or
invoiuntary) at the time that violence, including, but not
limited to domestic violence, dating violence, stalking,
or sexual assault occurs may be hesitant to report

such incidents due to fear of potential consequences

of their own conduct Syracuse University strongly
encourages students to report domestic violence,

dating violence, stalking or sexual assault to institution 10.7
officials A bystander acting in good faith or a reporting
individual acting in good faith that discloses any incident
of domestic violence, dating violence, stalking, or

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enforcement will not be subject to byracuse University`s
Code of Student Conduct for violations of alcohol and/
or drug use policies occurring at or near the time of the
commission of the domestic violence, dating violence,
stalking, or sexual assault

if a reporting individual files a complaint that proceeds

to a formal conduct process that person is the
“compiainant”. The student against whom the complaint

is filed is the “respondent”. in cases in which the Title |X
Coordinator has filed a complaint without the cooperation
of the reporting individual(s) in a specific incident the Title
iX Coordinator serves as the “compiainant.”

The University handles complaints discreetly

and attempts to maintain privacy throughout the
investigatory process to the extent practicable and
appropriate underthe circumstances However, in order
to conduct an investigation it is generally necessary to
discuss the allegations with the alleged offender and
other potential witnesses Additionaliy, the University
may have legal obligations to disclose information to law
enforcement or in the context of legal proceedings

Complaints may be made anonymously. Whiie the
University endeavors to investigate ali complaints
including anonymous complaints the nature of
anonymous complaints makes investigation
determination and remediation more difficult and, at
times impossible Further, while the University attempts
to protect the identity of complainants who do not wish
to be identified, this may not always be possible.

Occasionaliy, an individual makes a complaint and

later wishes to revoke or discontinue the investigation
or adjudication process Simiiariy, it may occur that a
witness or other third party reports an incident and

the impacted person declines to participate in the
investigation or adjudication process in other instances
complaints may be received anonymously and/orthe
reporting party may not wish to be personally identified
The University endeavors to respect the wishes of

a reporting party to either not be identified and/

or not participate in the process in these situations

the University attempts to investigate and address
complaints in accordance with the reporting party’s
wishes However, the University may not always be

able to do so. in order to protect the community,

the University may be obligated to investigate and
adjudicate serious incidents even when the reporting
party would prefer otherwise. The University reserves
the right to take action in response to any incident that
comes to its attention

if a complainant also chooses to file a criminal report
and pursue criminal charges against the respondent

the University will not unduly delay its investigation

unless requested to do so by the appropriate legal

10.8

10.9

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authorities and, if a delay is requested, the delay will
only be temporary. The University wiii`comply with law
enforcement agency requests for cooperation and such
cooperation may require the University to temporarily
suspend the fact-finding portion of an investigation
while the law enforcement agency gathers evidence. The
University will promptly resume its investigation as soon
as notified by the law enforcement agency that it has
completed the evidence gathering process

The University will never require a student who
complains of sexual harassment or violence to work

out the complaint directly with the respondent through
mediation or other types of conflict resolution
Complainants may withdraw formal complaints

at any time, but the University may be compelled

by law to continue the associated investigation or
conduct process The University will evaluate the
appropriateness of resolution options on a case-by-case
basis Certain cases are not appropriate for mediation
or other types of conflict resolution, including cases
involving allegations of sexual assault or sexual violence.

interim relief such as no-contact orders changes in living
and/or working and/or academic situations protective
escort services and referrals to counseling may be
provided as requested and when availabie. Such relief
can be sought without regard to whether the complainant
chooses to report the matter to DPS or to local law
enforcement Additional relief such as protective orders
may be available through the criminal and/or family
court process interim relief can be requested at any time
even if such relief was refused when initially offered The
processes for issuance of no contact orders and interim
suspensions as well as appeal processes for both are
outlined in section 4 of this Handbook.

10.10 Upon the receipt of a complaint the Title iX Coordinator

will designate an investigator who may conduct a
prompt adequate, reliable and impartial investigation in
exceptional circumstances (including but not limited to
especially complex cases or when the University is not iri
session), it may be necessary to extend these timelines if
that occurs the parties will be informed in writing of the
expected timeline for completion The investigator will
have the authority to meet with both the complainant
respondent and witnesses to the alleged incident to
gather information regarding the facts and circumstances
of the incident Both the complainant and the respondent
will have an equal opportunity to provide the investigator
information, names of witnesses third party expert
testimony, electronic communications or other evidence
related to the complaint Both the complainant and the
respondent should be prepared to offer all information of
which they are aware that they desire to be considered

in the investigation Both the complainant and the
respondent will be notified at regular intervals ofthe
status ofthe investigation

A hold will be placed on the respondent’s academic
records until a final resolution of the complaint

The complainant and the respondent have an equal
opportunity to be advised by an advisor of their

choice throughout all phases of the investigation

For a University-trained procedural advisor, parties

may contact the Office of Student Assistance at
315.443.4357. Procedurai advisors including attorneys
where applicabie, have no standing in the University
investigation or in the University Student Conduct System
proceedings except to provide advice to their respective
parties in a quiet non-disruptive manner. Advisors do

not represent or speak for their respective parties Any
advisor, including attorneys who fails to conform their
behavior to these requirements will be removed from the
proceedings and barred from acting as an advisor in future
University Student Conduct System proceedings in such
cases the Board will determine whether to proceed with
the formal resolution process without the presence of an
advisor or to reschedule the proceedings at which time the
case will be forwarded to the Director of Student Rights
and Responsibiiities for further processing

10.12 Once the investigation report is compiete, both the

respondent and the complainant will be given the
opportunity to review the report and provide a written
response within three (3) business days both of which
will be provided to the Office of Student Rights and
Responsibiiities and the other party by the Title iX
investigator.

Files will be redacted in accordance with the Famiiy
Educational Rights and Privacy Act of 1974, as
amended Complainants and respondents will not be
permitted to create copies of the files.

10.13 The investigator will provide the alleged Code of

Student Conduct violations the written report, and the
written responses to the Office of Student Rights and
Responsibiiities The report will describe the relevant
facts and circumstances learned during the course of
the investigation and will contain statements of the
interviews conducted by the investigator. The report will
not include any conclusions regarding responsibility for
violations of the Code of Student Conduct. Based on the
outcome of the investigation the Director of the Office
of Student Rights and Responsibiiities will determine if
the complaint contains sufficient cause to proceed to a
University Conduct Board hearing.

10.14 The University Conduct Board is comprised of three

(3) members who are full-time faculty or staff from
Syracuse University and who are trained annually

on the handling ofTitle |X related complaints the
University’s Title lX Poiicy and Grievance Procedures
and applicable confidentiality requirements Members
of the University Conduct Board are appointed by the
Senior Vice President for Enroliment and the Student

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Experience, or designee, from a pool of at least ten (10)
members recommended by the University community.
The University Conduct Board is advised by the Director
of Student Rights and Responsibiiities by the Associate
Director of Student Rights and Responsibiiities or an
attorney appointed by the Director of Student Rights
and Responsibiiities

Chairpersons, appointed by the Director of the Office of
Student Rights and Responsibiiities or a designee, will
preside at each University Conduct Board hearing.

10.15 The complainant and respondent will be notified

simultaneously in writing of the charges filed against the
respondent the date, time and location of the hearing,
and will be invited to participate in an individual pre-
hearing meeting in the Office of Student Rights and
Responsibiiities to review the hearing process Both the
complainant and the respondent are permitted to have
a procedural advisor of their choice attend the meeting.
The procedural advisor will need to conform their
behavior to the standards outlined in section 10.11.

10.16 At its sole discretion the University Conduct Board may

rely upon the investigator’s report for its understanding
of the relevant facts or it may conduct additional
witness interviews and/or gather other additional
information The University Conduct Board may

also interview the investigator. The complainant and
respondent will be invited to speak to the University
Conduct Board, but neither party is required to attend
the hearing. Neither party will be permitted to cross-
examine the other party

Any interviews conducted by the University Conduct
Board may be recorded Either party may request that

a written transcript of these recordings be made at

the expense of the requesting party or have access to
the recordings by arrangement with the Director of
Student Rights and Responsibiiities. Printed transcripts
may be redacted by the Office of Student Rights and
Responsibiiities prior to being provided to the requesting
party in accordance with the Famiiy Educational Rights
and Privacy Act of 1974, as amended

10.17 Based on the information contained in the final report

any written statements and witness information
provided to the Board, the Board will determine whether
it is more likely than not that the respondent violated

the Code of Student Conduct using the preponderance
ofthe evidence standard Rules of evidence and criminal
standards of proof do not apply University Conduct
Board decisions are made in private and by a majority
vote of the Board members

Both parties have the right to exclude their own prior
sexual history with persons other than the other party in
the conduct process or their own mental health diagnosis
and/or treatment during the finding of responsibility
phase ofthe hearing.

10.18 Once a finding of responsibility is made and prior

to deliberations regarding sanctions the Board will
consider any other relevant information including impact
statements submitted by either party Prior conduct
history of the respondent will also be considered during
the sanctioning phase of the hearing. This includes past
findings of domestic violence, dating violence, stalking
or sexual assault

10.19 The hearing will be considered complete when the

Board has agreed upon the final written version of

the Board’s decision The University Conduct Board
may impose sanctions up to and including expulsion
from the University and may design sanctions that are
educational and/or remedial specific to the facts of a
given case, Standard sanctions for aicohol, safety, sexual
harassment and violence related behaviors are listed in
section 11 of this Handbook. The University Conduct
Board will render a decision on ali Code of Student
Conduct violations listed in the complaint

Decisions ofthe University Conduct Board are
confirmed by the Director of Student Rights and
Responsibiiities or a designee.

10.20 University Conduct System formal resolution

proceedings are confidential and closed to persons not
directly related to the case. The results of University
Student Conduct System formal resolution process

are held confidential in accordance with applicable

iaw. The University reserves the right to correct any
misinformation with regard to University Student
Conduct System action that may be circulated in the
media when the well-being of the community so requires
The University will publish data related to the activities
of the University Student Conduct System on a periodic
basis consistent with constraints and requirements
imposed by iaw.

The process of investigation and the Board’s decision will
be concluded within 60 days of the original complaint
pending special circumstances if circumstances arise that
delays either the investigation or the Board’s determination
of an outcome, both parties will be sent written notification
of the delay and its cause. Each party will receive written
notification ofthe decision of the University Conduct
Board including a finding of responsibility whether sex
discrimination was found and sanctions

10.22 in ali cases of sexual assault stalking, gender-related

harassment and domestic/relationship violence the
decisions of the University Conduct Board are effective
immediately information on how to appeal decisions of
the University Conduct Board can be found in section
12 of this handbook.

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PART 11. SANCT|ONS FOR ALL CONDUCT CASES

University Student Conduct System sanctions are official
actions of the University. Failure to comply with sanctions
that are imposed by the University Student Conduct System,
or with specific conditions related to the safety and security
of any persons or property while a case is pending, may result
in immediate, indefinite suspension or expulsion from the
University without benefit of further process

11.1 The following sanctions or any combination thereof,
may be applied to any individual student, group of
students or student organization, for violations of
the Code of Student Conduct and related University
policies:

Ei.

EDUCAT|ONAL

The primary goal of the University Student Conduct
System is education. Respective Boards and case
managers may design sanctions that are specific

to an individual case when it is determined that
educational value may result and the interests of the
University community are maintained Examples of
educational sanctions include, but are not limited
to: community service, Community lnvolvement
Assignment (ClA)B, Decision Making, Civility
Workshop, monetary restitution, and research and
writing assignments

RES|DENT|ALWARN|NG

This status is a formal warning on behalf of the
residential living program and is intended to warn the
student about the consequences of continuing such
behavior.

RES|DENT|AL REPR|MAND

This status is a formal admonition on behalf of

the residential living program and is intended to
clearly document in a student’s disciplinary file that
student’s behavior has been deemed unacceptable

RES|DENT|AL PROBAT|ON

This status indicates that a student is no longer in
good standing within the University’s residential
living program. Further violations may result in the
immediate loss of eligibility to live in or visit the
University's residence and/or dining facilities or in
more serious sanctions as circumstances warrant.

RES|DENT|AL RELOCAT|ON/SUSPENS|ON/
EXPULS|ON

These statuses indicate that a student is not eligible
to live in or visit some or all of the University’s
residence and/or dining facilities A residential
relocation involves the reassignment of a student’s

3 Community lnvolvement Assignment (ClA) includes a series of
University community activities events and lectures designed to
promote student engagement and life changing experiences

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living unit within University housing and usually
prohibits the student from returning to the
residential area associated with the former living
assignment A residential suspension or expulsion
involves the student’s removal from housing
altogether. These statuses may extend for a specific
period of time, until the completion of specific
conditions or permanently These statuses may be
limited to a specific facility or applied to all facilities

SOC|AL PROBAT|ON

This status is applied as a result of a breach of
specific social regulations lts primary effect is to
suspend a privilege related to the nature of the
offense and/or restrict access to specific campus
facilities or programs

WARN|NG

ln instances of less serious deviations from the
University norms of conduct, the student may be
formally warned of the possible consequences of
continuing such behavior. No other specific action is
taken unless further misconduct occurs

DlSC|PL|NARYREPR|MAND

This status is a formal admonition on behalf of the
University community and is intended to clearly
document in a student’s or student organizations
disciplinary file that their behavior has been deemed
unacceptable. This status is applied for a minimum
of one academic year, but can be extended for a
specific period of time as determined by the case
manager or formal hearing body.

D|SC|PL|NARYPROBAT|ON

This action constitutes a change in status between
good standing and suspension or expulsion from the
University. The student or student organization is
permitted to remain enrolled at or retain recognition
by the University under stated conditions depending
upon the nature of the violation and upon the
potential learning value that may derive from specific
restrictive measures Further violations may result

in immediate suspension, indefinite suspension, or
expulsion from the University. This status is applied
for a minimum of one academic year, but can be
extended for a specific period of time as determined
by the case manager orformal hearing body.

iNTERlM SUSPENS|ON

This action by the Director of Student Rights and
Responsibiiities or a designee, in consultation with
the SeniorVice President for Enroliment and the
Student Experience, or a designee, is a temporary
suspension of certain rights or privileges while a
conduct case is pending. An interim suspension may
be broad and inclusive or may be restricted to a

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specific location and/or function and is based on the

 

determination that the safety and well-being ot the 7 "*

University community or specific persons are at risk.
lNDEFlNlTE SUSPENS|ON

This action results in a student’s involuntary
withdrawal from the University, or in loss of
University recognition and related privileges for

a student organization, for an indefinite period of
time. A suspended student or student organization
is prohibited from any presence or activity on
University owned, operated, or controlled property,
including but not limited, to University-owned
property leased to a non-University affiliated party,
and from participation in any class or program
offered by Syracuse University. A student or
student organization placed on a status of indefinite
suspension is` permitted, after a minimum period

of separation, to submit a petition demonstrating
his/her good citizenship in the time away from

the University and potential for making positive
contributions in the future.

individual student petitions are required to include:

a personal essay evidencing the learning the student
has gained from the incident that led to the indefinite
suspension; the manner in which the student has been
occupied since his/her departure from the University;
and, the specific commitments the student will make to
contributing positively to the University community if
offered the opportunity for readmission; documented
information of the student’s completion of substantial
service to the community; documented information of
gainful employment and/or completion of academic
course work at an accredited institution of higher
education; and, documented information of completion
of any special assignments identified for the student by
the Office of Student Rights and Responsibiiities at the
time of or subsequent to the student’s departure This
petition is reviewed by the Director of Student Rights
and Responsibiiities and the SeniorVice President for
Enroliment and the Student Experience, or a designee,
who will determine whether and under what conditions
a student may be permitted to return to the University
in a future semester.

Student organization petitions will include elements
specific to the type of student organization, as
determined by the Director of Student Rights and
Responsibiiities

EXPULS|ON

This action results in the permanent separation

of the student, or student organization, from the
University, its programs and facilities lt is the most
severe disciplinary action that the University Student
Conduct System can impose.

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11.2 APPl_iCATlON OF STANDARD SANCT|ON|NG
' iGU|DEijiNES""

Standard sanctions have been adopted by Syracuse
University to respond to substance abuse-related and
other serious violations of the Code of Student Conduct.
Syracuse University is deeply concerned about the extent
to which some students engage in underage consumption
of alcohol, unlawful use of drugs and/or consumption

of alcohol or other drugs to a degree that renders them

in need of emergency medical intervention or other
extraordinary assistance in addition, Syracuse University
seeks to deter students from engaging in conduct that
poses risks to the safety and well-being ofthe individual
student and/or the University community as a whole.
Standard sanctions are intended to alert students and
other members of the University community to the
seriousness of alcohol- and drug-related behaviors
violence, and safety violations; provide meaningful
consequences for violations of University expectations
and, ensure that students are provided opportunities to
access education, counseling, and support.

Standard sanctions apply only to those offenses
described in Sections 11.3,11.4, 11.5, 11.6, and 11.'7.
incidents failing within the Code of Student Conduct,
but not described in Sections 11.3,11.4,11.5,11.6,
and 11.7, will be handled on a case-by-case basis in light
of all the circumstances

Other specific situations to which standard sanctions do
not apply are as follows:

a. where a student is found to have engaged in multiple
violations ofthe Code of Student Conduct in a single
incident, rather than solely in the violation addressed
by the standard sanction;

b. where a student is already on a conduct sanction
status equal to or greaterthan the standard sanction
for a previous offense; and/or

c. where a specific incident presents exacerbating
circumstances an ongoing risk to persons or
property, or other serious concerns

in these situations the appropriate sanctions will be
determined on a case-by-case basis in light of all the
circumstances Generally, these situations will result

in sanctions in excess of the standard sanction. The
presence of substantial mitigating or other appropriate
circumstances may result in the reduction of a standard
sanction in the discretion of the Director of Student
Rights and Responsibiiities or the University Appeais
Board

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11.3 STANDARD SANCT|ONS FOR SUBSTANCE ABUSE-RELATED ViOLAT|ONS

 

Category

First Vioiation

Second Vioiation

Third Vioiation

 

Use or possession
of alcohol under
prohibited
circumstances

Disciplinary Reprimand

Community involvement
referral and/or Educational
project(s)

Disciplinary Probation
Community involvement referral

Educational project(s) and/or
Options Program referral

indefinite
Suspension for a
minimum of one
academic year

 

Supplying alcohol to
underage person(s)

Disciplinary Probation

Community involvement
referral or Community Service
project(s) and/or Educational
project(s)

indefinite Suspension for a
minimum of one academic year

Not applicable*

 

Extreme alcohol
intoxication posing a
substantial risk to the
health and weil-being
of self and/or others

Disciplinary Reprimand

Appropriate Educational
assignments

Options Program referral

Disciplinary Probation

Residential relocation (at the
discretion of the case manager or
hearing Board)

Options Program referral

Other Educational project(s)

indefinite
Suspension for a
minimum of one
academic year

 

Manufacture or
sale of alcohol
under prohibited
circumstances

Disciplinary Probation

Community involvement
referral or Community Service
project(s) and/or Educational
project(s)

indefinite Suspension for a
minimum of one academic year

Not applicable*

 

Driving any motor
vehicle while
intoxicated or while
under the influence of
unlawful drugs

indefinite Suspension for a
minimum of one academic term

Community involvement
referral or Community Service
project(s) and/or Educational
projects

Expulsion or indefinite Suspension
for a minimum of one academic
year

Not applicable*

 

Use or possession of
drug paraphernalia,
marijuana, illegal
drugs or controlled
substances without
an appropriate
prescription

 

 

Disciplinary Probation

Residential relocation (at the
discretion ofthe case manager
or hearing Board)

Options Program referral

Community involvement or
Community Service referral
and/or

Other Educational project(s)

 

indefinite Suspension for a
minimum of one academic year

 

Not applicable*

 

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Category First Vioiation

Second Vioiation Third Vioiation

 

Extreme drug Disciplinary Probation
intoxication or abuse-
related behavior
posing a substantial
risk to the health and

well-being of self and/

Residential relocation (at the
discretion of the case manager
or hearing Board)

Options Program referral

indefinite Suspension for a Not applicable*

minimum of one academic year

 

Suspension for a minimum of
one academic year

sale, purchase, or
distribution of illegal
drugs or controlled
substances

 

 

or others Community involvement
referral and/or Other
Educational project(s)
Manufacture, Expulsion or indefinite Not applicable* Not applicable*

 

 

 

*ln these circumstances sanctions will be determined on a case-specific basis by the adjudicator or appropriate adjudicative

body.

**DW| and serving alcohol to minors do not apply.

11.4 STANDARD SANCT|ONS FOR WEAPONS-RELATED VlOLATlONS

11.5

 

Category

Sanction

 

Possession of a prohibited weapon or other dan-
gerous object, including, but not limited to fire-
arms BB-guns, sling shots airsoft guns air rifles
explosive devices, fireworks or any other danger-
ous unlawfui, or hazardous object or material

Disciplinary Probation, indefinite Suspension, or Expulsion
as determined by the case manager or hearing Board;

Expulsion from student housing, if the student is not
suspended, indefinitely Suspended, or Expelled and lives in
a University residence,

Minimum of 80 hours of Community Service and/or other
Educational sanctions as deemed appropriate by the case
manager or hearing Board

 

Any improper use, attempted use, or threat of use of a
weapon or other dangerous illega|, or hazardous object;
any improper use as a weapon of any otherwise permitted
object or material

Expulsion or indefinite suspension for a minimum of one
academic year

 

STANDARD SANCT|ONS FOR ViOLENCE-RELATED VlOLAT|ONS

 

Category

Sanction

 

Physical harm or threat of physical harm without a weapon
resulting in little or no physical injury to involved persons

Disciplinary probation or indefinite suspension as
determined by the case manager or hearing Board,

Participation in the Confiict Resolution Program, Options
Program referral, if alcohol or other drugs were a factor in
the incident,

Minimum of 80 hours of community service and/or other
Educational sanctions as deemed appropriate by the case
manager or hearing Board

 

Physical harm without a weapon resulting in significant
physical injury to another person

 

 

Expuision or indefinite Suspension for a minimum of one
academic year

 

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11.6 STANDARD SANCT|ONS FOR SAFETYAND FlRE-RELATED VlOLATiONS

 

Category

Sanction

 

Tampering with smoke detectors in on campus
residential facilities

Disciplinary Reprimand, educational projects and residential
probation

 

interference with, improper activation of, or damage

to any elevator or safety or emergency equipment,
including, but not limited to: fire alarms, fire
extinguishers sprinkler systems and blue lights; lighting
any unauthorized fire on University property

indefinite Suspension for a minimum of one academic
semester; Expulsion

 

11.7 STANDARD SANCTlONS FOR GENDER RELATED VlO

LENCE/HARASSMENT

 

Category

Sanction

 

Sexual harassment including unwanted sexual
advances requests for sexual favors and some visual
and physical conduct of a sexual nature; Stall<ing

Disciplinary Probation with appropriate educational projects
indefinite Suspension for a minimum of one academic year or
indefinite Suspension until the survivor graduates whichever is
longer (as appropriate)

 

Sexual assauit, including, but not limited to sexual
touching without consent, forcible touching; stalking
with threats of harm; use of physical violence in a dating
or sexual relationship

indefinite Suspension for a minimum of one academic year or
indefinite Suspension until the impacted person graduates
whichever is longer (as appropriate); Expulsion

 

Sexual intercourse without consent

indefinite Suspension for a minimum of one academic year or
indefinite Suspension until the impacted person graduates
whichever is longer (as appropriate); Expulsion

 

Retaliation against an individual who has filed a report
of gender related violence/harassment

 

Disciplinary Probation with appropriate educational projects;
indefinite Suspension for a minimum of one academic year;
Expuision

 

 

 

PART 12. APPEALS

12.1 in cases of violence related violations sexual assault,
stalking, gender-related harassment, or domestic/
relationship violence, decisions of the respective Boards
are effective immediately. in all other cases decisions of
the respective Boards are effective immediately, unless
a written notice of intention to appeal has been received
by the Office of Student Rights and Responsibiiities
within one business day after the confirmed decision is

made available.

12.2 Either party may appeal the decision of the hearing
Board in writing within three (3) University business
days after the written decision is made available. Aii
appeals must be authored and signed by the submitting
party. Appeal submission must not be more than ten
(10) pages double-spaced, using 12-point font and
1-inch margins (not including attachments). An appeal
by one party will be forwarded by the Office of Student
Rights and Responsibiiities to the other party. Appeais
produced by procedural advisors or other non-parties
will not be considered by the University Appeais Board.

12.3 Appeais must be based on one or more of the following:

a. New information not reasonably available at the
time ofthe original hearing, the absence of which can

be shown to have had a detrimental impact on the
outcome of the hearing,

b. Procedurai error that can be shown to have had a
detrimental impact on the outcome of the hearing.

c. Errors in the interpretation of University policy so
substantial as to deny either party a fair hearing.

d. Grossly inappropriate sanction having no reasonable

relationship to the charges

12.4 When an appeal has been filed, the other party will be
permitted to respond in writing, specifically addressing
the issues raised in the appeal, within three (3) business
days after the appeal has been made available.
Responsive submission must not be more than ten (10)
pages double-spaced, using 12-point font and 1-inch
margins (not including attachments.) Any responsive
document will be forwarded by the Office of Student

Rights and Responsibiiities to the appealing party.

12.5 The University Appeais Board is comprised of three

(3) members who are full-time faculty or staff from
Syracuse University. Members of the University Appeais
Board are appointed by the Senior Vice President for
Enroliment and the Student Experience, or a designee,
from a pool of at least ten (10) members recommended

by the University community. The University Appeais

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Board has authority to hear appeals from decisions of

12.6

12.7

12.8

12.9

any lower non-academic conduct Board that meet the
criteria set forth in Part 12.3. in addition, the University
Appeais Board has authority to review the decision
rendered by any hearing officer described within these
procedures The University Appeais Board is advised by
the Director of Student Rights and Responsibiiities if
they have not been involved in the original hearing, or by
a designee of the Senior Vice President for Enroliment
and the Student Experience.

The University Appeais Board will determine whether
the prescribed criteria for appeals have been met and
what process if any; will be required to resolve the case,
The Board may re-hear cases or limit the proceedings

to the specific issues outlined in the appeal, depending
on the nature of the case, The Board may uphold the
decision, change lower Board decisions alter sanctions
up or down, or return cases to the respective lower
Board for further process The University Appeais Board
may impose sanctions up to and including expulsion
from the University and may design educational and/

or remedial sanctions appropriate to a given case.

The University Appeais Board may alter the Standard
Sanctioning Guidelines in Part11 where the Board
determines that substantial mitigating or exacerbating
circumstances warrant reduction or enhancement of the
standard sanction.

Findings of fact will be accepted as determined by the
original Board, unless the appellate body determines
that the original Board acted in an arbitrary, capricious
or unfair manner.

The University Appeais Board will make a decision
based on the written submissions within three (3)
business days after all written submissions are received,
or indicate in writing what further process is necessary
for final resolution.

Decisions of the University Appeais Board will be

final when reviewed and confirmed by the SeniorVice
President for Enroliment and the Student Experience or
a designee, The Senior Vice President for Enroliment and
the Student Experience, or a designee, as appropriate,
may interview any participant in an earlier proceeding,
change the decision, alterthe sanction up or down,

or return the case to the University Appeais Board or
another hearing Board for further process Decisions

of the Senior Vice President for Enroliment and the
Student Experience, or a designee, are final. Review and
confirmation by the Senior Vice President for Enroliment
and the Student Experience, or a designee, will be made
within three (3) business days afterthe decision of

the University Appeais Board is compiete. Parties will

be informed of the outcome of any appeals only upon
confirmation by the Senior Vice President for Enroliment
and the Student Experience, or a designee.

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PART 13. MOD|F|CAT|ON OF PROCEDURES

13.1

Syracuse University reserves the right to modify its
conduct procedures and appeals processes with written
notice to the complainant and the respondent when
classes are not in session, while any involved individual
is studying abroad, during the summer session, when
safety and security issues so demand, when special
expertise is needed to ensure fairness or in other
circumstances where in the University’s sole discretion
the procedures described herein are deemed insufficient
to meet the objectives of educating and protecting
members of the University community. Modified
procedures nonetheless will provide students with
required elements of fundamental fairness

PART 14. DlSClPLlNARY RECORDS AND
TRANSCR|PT NOTAT|ONS

14.1

14.2

Access to disciplinary records is provided in accordance
with the Famiiy Educational Rights and Privacy Act of
1974, as amended FERPA gives parents certain rights
with respect to their children’s education records, These
rights transfer to the student when he or she reaches the
age of 18 or attends a school beyond the high school
level. Students to whom the rights have transferred are
“eligible students.”

Except in unusual circumstances as determined in its
sole discretion, and consistent with federal law, Syracuse
University will seek to notify parents or guardians of
conduct issues involving dependent students as follows:

a. ln an emergency;

b. After final adjudication and finding of responsibility
in all alcohol and drug-related offenses;

c. After final adjudication and finding of responsibility
in all offenses resulting in disciplinary probation,
suspension or expulsion.

A student is not a dependent student if the student:

v is or will be 24 years old during the academic year;
' is enrolled in a graduate or professional program;
° is married;

' is a veteran of the U.S. Armed Forces;

0 is an international student,

Disciplinary records maintained are retained for seven

(7) years from the date of the most recent incident in

the student’s file or until one (1) year after the student

has graduated from the University, whichever is ionger.
Records of students who were suspended, expelled,
prohibited from future enrollment or otherwise withdrawn
for disciplinary reasons are retained indefinitely Students
are advised to consult the Academic integrity Office with
regard to the records retention policies associated with
academic dishonesty cases

14.3

14.4

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Students found to be responsible for non-violence

ElaTedWlations who are suspend§lofexpelledWilii

have the following notation listed on their transcript:
“Administrative Withdrawal - University lnitiated”.
Students found to be responsible for violence
related violations as defined by the Clery Act who
are suspended or expelled will have their University
transcripts issued with the following notations

v in cases of suspension - “suspended after a finding of
responsibility for a code of conduct violation.”

0 in cases of expulsion - “expelied after a finding of
responsibility for code of conduct violation.”

* if a student who has alleged to have been involved
in an incident involving violence related violations
withdraws from the University with an investigation
or conduct case pending, the following notation will
be listed on their University transcript: “withdrew
with conduct charges pending.”

Students who have been suspended for aviolence
related violation who would like to appeal the
suspension notation on their transcript may do so one
year after the conclusion of the suspension via the
process listed in section 14.4. Notations for expulsion
will not be removed

Students who choose to appeal a suspension notation on
their transcript may do so via the following process:

a. Appeais submitted prior to one year after the
completion of the suspension will not be considered

b. in order to appeal a suspension notation on a
University transcript, all readmission or other
sanction requirements must be completed at the
time ofthe request.

C. if a student has been determined to be responsible
for any additional conduct related incidents which
took place after the start of the suspension, appeals
will not be considered

d. Submissions for a request for removal of a
suspension notation should be submitted in writing
to the Office of Student Rights and Responsibiiities
at, 310 Steeie Hall, Syracuse, NY 13244 orvia emaii
at studentconduct@syr.edu. Submissions should
contain the following:

¢ A brief description of the incident and the
sanction imposed

¢ Reflections on the student’s actions how they
have impacted the student as well as others

0 An account of the student’s decision-making and
behavior since the incident.

0 An explanation as to why the student believes
that the transcript notation indicating suspension
should be removed from their transcript.

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* Any supporting material (letters of
recommendation, verification of community
service and/or employment).

e. Aii requests will be responded to in writing. if the
request is granted, the notation of suspension will be
changed to “Administrative Withdrawal - University
lnitiated.”

PART 15. STUDENT lNlTlATED WlTHDRAWAL

15.1

A student who chooses to withdraw from the University
rather than participate in the conduct process may be
classified as having been withdrawn for disciplinary
reasons This status will be noted on the student’s
transcript as “Administrative Withdrawal - University
lnitiated” A student who withdraws under these
circumstances may not receive a transcript, is not
permitted to enter onto Syracuse University owned,
operated, or controlled property, including but not
limited to University-owned land leased to a non-
University affiliated party, and may not participate in
any course or program offered by Syracuse University
until the pending matter is resolved

PART 16. GOOD STAND|NG

16.1

in order to obtain a Syracuse University degree
(undergraduate or graduate), students must be in good
standing with the University. l‘Good standing” includes
a requirement that all matters pending before the
University Student Conduct System have been fully
and finally resolved (inciuding, but not limited to, full
satisfaction of any sanctions imposed). Students who
are not in good standing will not be granted a degree,
will not have access to transcripts and are not eligible to
participate in graduation ceremonies

PART 17. ENFORCED MED|CAL WlTHDRAWAL

17.1

Syracuse University reserves the right to withdraw a
student temporarily from the institution for misconduct
that is based on a significant psychological, physical or
substance abuse-related condition Such action of the
Senior Vice President for Enroliment and the Student
Experience and/or a designee, orthe Director of Student
Rights and Responsibiiities or a designee, will be done
with appropriate professional consultation. The student
will be provided written notice of the reason(s) for

the withdrawal and an opportunity to be heard by the
Senior Vice President for Enroliment and the Student
Experience or one or more designee(s), as deemed
appropriate under the circumstances

PART 18. RlGHTS TO AMEND

18.1

The procedures and policies outlined above supersede all
previous statements and policies of Syracuse University
with respect to student rights and responsibilities as

may appear in any Syracuse University publication The
University reserves the right to amend these policies and
procedures from time to time.

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Print dote: August 201 7
SYRACUSE UN|VERS|TY NON-DESCR|M|NAT|ON AND EQUAL OPPORTUN|TY STATEMENT

The University does not discriminate and prohibits harassment or discrimination related to any protected category including creed, ethnicity, citizenship, sexual
orientationl national origin, sex, gender, pregnancy, disability, marital status age, race, color, veteran status military status reiigion, sexual orientation, domestic
violence status genetic information, gender identity, gender expression or perceived gender“. Any complaint of discrimination or harassment related to any of
these protected bases should be reported to Sheilalohnson-Willis, the University’s interim Chief Equai Opportunity & Title lX Officer. She is responsible for
coordinating compliance efforts under the various laws including Tities Vl, Vll, lX and Section 504 of the Rehabilitation Act. She can be contacted at Equai Op-
portunity, inclusion and Resolution Services 005 Steeie Hall, Syracuse University, Syracuse, NY 13244-1120; or by email: sjohnson@syr.edu; or by telephone:
315-443-1520. Questions or concerns may be directed externally to Office for Civii Rights (OCR), U.S. Department of Education, 400 Maryiand Avenue, SW,
Washington, DC 20202 1100; Customer Service Hotiine #800-421-3481; Facsimile: #202-453-6012; TDD #8'77-521-2172; www.ocr.gov.

/‘Title lX prohibits harassment or discrimination based on sex, gender, sexual orientation, gender expression or gender identity. Titles Vl and Vl| prohibit harass-
ment or discrimination based on race, national origin, or color. Sections 503 and 504 of the federal Rehabilitation Act and the Americans with Disabilities Act
prohibit discrimination or harassment because of disability, in addition New York law prohibits discrimination or harassment based on these and other protected
categories

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Syracuse University

310 Steeie Hall l 131 Crouse Drive l Syracuse, NY 13244-1120 | 315.443.3728 | studentconduct.syr.edu

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EXhibit

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AOONDEGF

Apr1121,2018

_
Sent electronically to_
suiD _

Dear_

This office received a complaint filed against you by the Department of Public Safety alleging
that you have violated the following section(s) of the Code of Student Conduct:

1) Physical harm or threat of physical harm to any person or persons including but not limited
to: assault, sexual abuse, or other forms of physical abuse.

2) Harassment-Whether physical, verbal or electronic, oral, written or video_Which is beyond the
bounds of protected free speech, directed at a specific individual(s), easily construed as
"fighting words," or likely to cause an immediate breach of the peace.

3) Conduct_whether physical, verbal or electronic, oral, written or video_. which threatens the
mental health, physical health, or Safety of any person or persons including, but not limited to
hazing, drug or alcohol abuse, bu|lying and other forms of destructive behavior.

10) illegal use, possession purchase, distribution manufacture or sale of alcohol, drugs or
controlled substances or any other violation of the Syracuse University Poiicy on Alcoho|, Other
Drugs, and Tobacco.

15) Violation of University policies rules or regulations that are published in the Student
Handbook, or other official University publications or agreements

¢ Office of Fraternity and Sorority Affairs Poiicy
¢ Syracuse University Anti-Harassment Poiicy

l\/lore specifically, this complaint arises from an incident that occurred during the spring 2018
Semester.

Please attend an informal resolution meeting in the Office of Student Rights and
Responsibiiities (OSRR), 310 Steeie Ha|l, on Thursday, Apri| 26, 2018, at 2 p.m. to discuss
this matter and determine whether formal proceedings will be instituted.

Pamela Peter has been assigned as your student conduct case manager, and Wil| glad|y answer
any of your questions concerning this matter at your scheduled meeting. lt is recommended that
prior to your meeting you review the Syracuse University H

Please note that your student conduct case manager, per Part 11.2 and 12 of the Student
Conduct System Handbook, may consider previous violations of the Code of Student Conduct
during any sanctioning discussion

Office of Student Rights and Responsibiiities

310 Steeie i-|ail,131 Crouse Drive
Syracuse, NY 13244 1315 443 3728 F 315.443 9118 studentconduct.syr.edu

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lf you are unable to attend your informal resolution meeting, please notify your case manager in
advance. Failure to attend your informal resolution meeting without the advance notification of
your case manager may result in the informal resolution process proceeding in your absence.

We recommend that you obtain a procedural advisor to assist you throughout the conduct
process, including your initial meeting with OSRR. The Student Conduct System Handbook
(Parts 5.8 - 5.10) defines procedural advisors as a full-time student, staff, or faculty member at
Syracuse University. You are encouraged to reach out to your home school or college to seek
procedural advice or other support. ln addition, the Office of Student Assistance maintains a
pool of University community members that have volunteered and have been trained to provide
procedural advice and support. lf you are interested in requesting a procedural advisor through
the Office of Student Assistance, please call 315.443.4357. Please note that assignment of a
procedural advisor from the Office of Student Assistance is based on availability and is not
guaranteed.

lf you believe that you need accommodations for a disability, please contact the Office of
Disability Services (ODS), located in Room 309 of 804 University Avenue, or call 315.443.4498
for an appointment to discuss your needs and the process for requesting accommodations
before you go through the informal resolution process. ODS is responsible for coordinating
disability-related accommodations and will issue students with documented Disabilities
Accommodation Authorization Letters, as appropriate. Since accommodations may require early
planning and are not provided retroactively, please contact ODS as soon as possible. (Refer to
Part 5.11 of the Student Conduct System Handbook.)

lf you are receiving on-going supportive services from a Syracuse University office, you are
welcome to discuss your case with your counselor/advocate prior to attending your initial
meeting with OSRR. You may ask your counselor/advocate to serve as your procedural advisor,
but please understand that counselors from the University’s Counseling Center may not be able
to serve in this capacity. (Refer to Part 5.11 of the Student Conduct System Handbook.)

Should you have any questions regarding this process, please contact this office. To review the
Syracuse University Student Conduct System Handbook please visit stu§_eMMLs;/r_e_du.

Sincerely,

¢»»»/~#-"

Eric M. Nestor
Associate Director

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_ EXhibit

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UNIVERSITY CONDUCT BOARD HEARING OPINION

Syracuse University

Department of Public Safety

Office of Equal Opportunity, lnclusion & Resolution Services
Complainant

vs.

_Swdem

Respondent

OPINION OF THE BOARD
At a session of the University Conduct Board

Held on 5/9/2018
from 8:44 a.m. _ 4:24 p.m. in the Melanie Gray Cerernonial Courtroom (Dineen Hall)

and 5/10/2018
from 8:08 a.m. _ 2:44 p.m. in the Melanie Gray Ceremonial Courtroom (Dineen Hall)

and 5/14/2018
from 9:03 a.m. - 9:29 a.m. in the Melanie Gray Ceremonial CouItroom (Dineen Hall)

Presiding:
Jackie Dorchester, Chairperson
Carlota Deseda-Coon, Board Member
Tommy Powell, Board Member
Chris Cofer, Board Member Alternate
Ali Cridge, Board Member Alternate

 

 

Advisor to Complainant: N/A Advisor to Respondent:
Todd Engel
Witness(es) for Complainant: Witness(es) for Respondent

Detective Michael Toia, DPS

 

 

Opinion by: Jackie Dorchester, Chairperson
Board Advisor: Devon Riley, Esq.

SYRACUSE UN|VERS|T¥
OFF|CE OF STUDENT R|GHTS
AND RESPONS|B|L|T|ES

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ITEMS PROVIDED IN THE CASE FILE FOR CONSIDERATION BY THE BOARD

The Case File contained the following information:

16.

17.
18.
19.

Confidential Report of lnvestigation by the University’s Equal Opportunity, Inclusion, and
Resolution Services

Declaration of Teresa Dahlberg

DPS lnvestigation

DPS Notes of Video

John Doe Affidavit 1

John Doe Affidavit 2

John Doe Affidavit 3

John Doe Affidavit 4

John Doe Affidavit 5

. Social Media Exhibit

. Student identification photographs

. April 18, 2018 transcript

. April 25, 2018 transcript

. Respondent Response to Title D( Investigative Report (May 7, 2018)

. Letter to Nestor from Germain dated May 2, 2018, re: Fraternity Administrative

Proceedings, and related follow up via email

Letter to Nestor from Germain dated May 5, 2018, re: US DOE Policy on Fair Title IX
Hearin g Process

Letter to Nestor

Videos 1-9

Syracuse.com article on Theta Tau Response

STATEMENT OF HEARING MOTIONS AND RULINGS

1.

Bias of the Board

When originally asked, Respondent - did not object to any specific member ot` the
Board on the basis of bias (May 9 Hearing Transcript, p. 4, line 25). Respondent

later objected to the members of the Board on the basis of bias and said, “Entirely as a result
of the situation, one faculty member has already been terminated from his position Within the
University in response to this event. l feel that there may be a conflict of interest, the Board
may be Worried about losing their jobs if they Were to render a verdict that was not in the
Chancellor’s favor.” (May 9 Hearin g Transcript, p. 21, line 15). Respondent

also said, “I’d like to bring forth the objection that the entire Board is biased because again
you did receive Chancellor Syverud’s initial email, incorrectly representing the case
essentially deeming us guilty before any proper hearing or evidence Was presented.” (May 9
Hearing Transcript, p. 36, line 4-9). In response, the Board Chairperson provided information
regarding the selection process, indicating that the presiding Board is composed of a trained
group of volunteers Who Were available to hear the matter, and have experience hearing
student conduct cases involving Title IX matters, and Who have served on the University

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Conduct Board for two to five years. The Board members are neutral and impartial, having
no prior connection to or relationship with the parties or the facts.

2. Seven Additional Videos
Respondent- objected “to showing videos that were not in the procedural fi|e.” (May 9
Hearing Transcript, p. 9, line 8). Respondent -objected to “an_v videos not published
they create basis for charges again us. . .. No public has seen them so the charges seem to be
again t]:ie videos that were released to the publie.” (May 9 Hearing Transcript, p. 13, line 7).
Respondent-also joined in Respondent-’s objection (May 9 Hearing Transcript,
p. 39, line 24). The Board Chairperson noted that the videos were part of the procedural file
and the Respondents had been provided a previous opportunity to review the videos. The
Investigative Report provided the following notice, “There are seven additional videos in the
University’s possession, four of Which contain additional content. All nine videos Will be
shown at the hearing, The University Will not distribute these videos, which have not been
publically released, electronically. However, Respondents wishing to review the additional
videos in advance of the hearing may contact EIORS to schedule a time to view them in the
EIORS office, ” (EIORS Report of Investigation, p. 16, footnote 2).

3. Appearing To ether
Respondent h objected to being tried as a group asking, “Why are being tried
together and not as individuals? Why is there not an individual hearing for each of us'?” (May
9 Hearing Transcript, p. 17 line 10). Respondent- joined in this objection The Board
noted that Respondent _’s question was procedural and previously determined by
University officialsl The Respondents Were given the opportunity to present their case in a
group as Well as an individual Setting.

4. The Role of the Board Advisor
Respondent - inquired Whether the Board’s Advisor, Devon Riley, was
independent or actin as an agent for the University. (May 9 Hearing Transcript, p. 23, line
4). Respondent joined in this inquiry and asked for clarification (May 9 Hearing
Transcript, p. 27, line 17). The Board’s Advisor responded that she is an external attorney
advisor to the Board. The Board Chairperson noted that Ms. Riley is not serving as a voting
member of the Board.

5. The Role of the Alternates
Respondent _ objected to the presence of the alternates, Christopher Cofer and
Alison Cridge asking, “Why are they present, why are they full present and offering advice if
they’re supposed to be alternates and not really involved.” (May 10 Hearing Transcript,
p.187, line 6). Respondent- joined in this objection The Board Chairperson clarified
that alternates are permitted to ask questions and participate in the hearing, in the event one
of the original Board members could not be present for deliberations

 

1 All Respondents were advised in their hearing notice that they could speak to the Board individually and outside of the
presence of the other Respondents. That information would only be shared With other Respondents if it inculpated or
exculpated the other Respondent. Specifically, the Board informed them “that if you tell us something that related to
another Respondent, or the charges against them, we will need to provide a transcript of that information to the other
Respondent.” (May 14 Hearing Transcript, p. 7, line 19).

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STATEMENT OF FACTS

The Complainant alleges that the Respondent has violated the Code of Student Conduct
Sections:

1) Physical harm or threat of physical harm to any person or persons, including, but not limited
to: assault, sexual abuse, or other forms of physical abuse.

2) Harassment_whether physical, verbal or electronic, oral, written or video_Which is beyond
the bounds of protected free speech, directed at a specific individual(s), easily construed as
"fighting words," or likely to cause an immediate breach of the peace.

3) Conduct_ whether physical, verbal or electronic, oral, Written or video_ which threatens
the mental health, physical health, or safety of any person or persons including, but not
limited to hazing, drug or alcohol abuse, bullying or other forms of destructive behavior.

10) Illegal use, possession, purchase, distribution, manufacture or sale of alcohol, drugs or
controlled substances, or any other violation of the Syracuse University Policy on Alcohol,
Other Drugs, and Tobacco.

15) Violation of University policies, rules or regulations that are published in the Student
Handbook, or other official University publications or agreements

0 Syracuse University’s Office of Fraternity and Sorority Affairs Policy

o Sexual Abuse and Harassment: Chapters Will not tolerate or condone any
form of sexist or sexually abusive behavior on the part of its members,
Whether physical, mental or emotional This is to include any actions,
activities or events, Whether on chapter premises or an off-site location
Which are demeaning to women or men, including but not limited to
verbal harassment, sexual assault by individuals or members acting
together.

¢ Syracuse University’s Anti-Harassment Policy

o Prohibited Harassment: Members of the Syracuse University community
are prohibited from engaging in Harassment. Harassment is defined at the
University as unwelcome conduct or speech directed at an individual or
group of individuals, based on a Protected Category, which is so severe or
pervasive that it unreasonably interferes with an individual’s work
performance, terms of employment, educational program participation, or
it creates an intimidating, hostile, or offensive environment for study,
Work, or social living. To qualify as Harassment under this policy, the
speech or conduct must be both viewed by the listener(s) as Harassment,
and be objectively severe or pervasive enough that a reasonable person
Would agree that the speech or conduct constitutes harassment. In
determining whether reported speech or conduct qualifies as Harassment
under this policy, the University will consider all circumstances

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surrounding the reported incident(S), including, without limitation, the
frequency, location, severity, context, and nature of the speech or conduct,
including whether the speech or conduct is physically threatening or
humiliating, rather than a mere offensive remark. The University will also
consider the intent of the speaker(s).

¢ Syracuse University’s Sexual Harassment, Abuse and Assault Prevention Policy2

o Sexual Harassment: Syracuse University defines sexual harassment as
unwelcome behavior of a sexual nature that relates to the gender or sexual
identity of an individual and that has the purpose or effect of creating an
intimidating, offensive or hostile environment for study, work, or social
living.

The courts have recognized two forms of sexual harassment claims under
Title VII of the Civil Rights Act of 1964: “quid pro quo” claims and
“hostile environment” claims.

The “quid pro quo” claim (literally “this for that”) involves harassment in
which a supervisory employee or academic superior demands sexual
favors in exchange for job or academic benefits over Which that supervisor
has Some control or influence. The “hostile Work environment” claim
involves unwelcome behavior of a sexual nature that creates an
intimidating or hostile environment This standard prohibits not only
behavior intended to create a hostile environment, but also behavior that
has the reasonably foreseeable effect of interfering with an individual’s
work, academic performance, or social living. Anyone who contributes to
the creation of a “hostile Work environment” may be held liable for sexual
harassment, including the employer or its agents, if they knew of or
reasonably should have known of the harassing conditions

Sexual harassment is conduct that focuses on a person’s sexuality and/or
gender, rather than on that person’s contributions as a student or
employee, to the University. lt encompasses the full range of coercive,
unwelcome behavior, from subtle psychological force, to gross physical
abuse. These acts may be visual (e.g., leering, ogling, and physical
gestures conveying a sexual meaning), verbal (e.g., sexual innuendoes,
suggestive remarks, sexually derogatory jokes), written (e.g., sexually
suggestive e-mail7 cartoons or letters), or physical (e.g., hugging, pinching
or fondling). Sexual harassment may encompass acts of sexual violence,
including rape, sexual assault, sexual battery, and sexual coercion. Sexual
harassment also includes requests for sexual relations combined with
threats of adverse consequences if the person refuses

Conduct alleged to be sexual harassment will be evaluated by considering
the totality of the particular circumstances including the nature,

 

2 During deliberations the Office of Student Rights and Responsibilities notified the Board Chairperson that the charge
of Sexual Harassment under the Sexual Harassment, Abuse, and Assault Prevention Policy was withdrawn. The Board
therefore does not find the Respondent responsible for violating this Policy

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frequency, intensity, location, context, and duration of the questioned
behavior. Repeated incidents or a pattern of harassing behavior may be
cause for serious corrective action. However, a more serious incident,
even if isolated, may be sufficient cause for action under this policy.

The Complainant presented the following information:

o Detective Toia confirmed that Respondent- participated in the skit on March 30"1,
2018, which was captured in the video. Detective Toia walked the Board through the video
and identified Respondent as wearing dark Adidas sweat pants

0 Detective Toia described the interview process that was used to obtain information from
Respondent- regarding the March 30th incident

0 Detective Toia described the demeanor of some Respondents during the interviews and noted
that some appeared remorseful.

0 Detective Toia confirmed that there was no evidence or information that any Respondents
used, possessed, purchased, distributed, manufactured, or sold alcohol or narcotics

¢ Detective Toia said that some of the Respondents were offered safety plans to ensure their
protection.

0 Detective Toia confirmed that DPS conducted a factual investigation that included gathering
evidence and conducting witness interviews

0 Detective Toia indicated that the matter was conveyed to the Title lX Office for review,
based on the sexual nature of the skits, which, he said is standard protocol.

0 Detective Toia confirmed that When DPS concluded its investigation the matter Was
forwarded to the Office of Students Rights and Responsibilities to determine any appropriate

charges

0 Detective Toia confirmed the contents of the Case File included the DPS investigation,
EIORS Report of lnvestigation, and exhibits

The Complainant presented the following evidence in support of this claim:
¢ Case file
¢ Nine videos of the March 30th event
¢ Verbal testimony supplementing and further detailing the investigation

0 19 DPS interviews of Respondents and other members of Theta Tau

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The Respondent defended against the Complainant’s claim by arguing that:

¢ Regarding Code of Conduct Section 1, Respondent- stated that at no time did he
commit physical harm and had never been told that his specific conduct was a form of direct
or indirect sexual abuse, Respondent - denied that his conduct constituted sexual abuse.

0 Regarding Code of Conduct Section 2, Respondent -said that his conduct within the
roast was completely nonverbal in nature. Even if he did speak, any conduct he did was not
beyond the bounds of free speech. He said his role Was limited to standing and walking off
stage and standing with his back to the audience. He did not act in a manner that would fit
within the definition of harassment

0 Regarding Code of Conduct Section 3, none of the actions Respondent-personally
participated in could in any way threaten the mental health, physical health, or safety of any
persons The roast does not fit the definition of hazing,

¢ Regarding Code of Conduct Section 10, at no time was any alcohol present or in use during
the roast. Respondent -stressed he did not drink or use drugs at any time during this
event

¢ Regarding Code of Conduct Section 15, as it relates to violating the Fraternity and Sorority
Affairs, Respondent- stated that this claim focuses on the actions of the Fraternity, not
an individual. At the time, he Was a pledge and had no control over the events in question.
He was a minor participant With no verbal participation in the roast.

0 Respondent- stated that the event was a closed, member-only event, not open to the
public. lt was in a safe place where they were able to express their right to free speech, lt was
meant to be satirical and there Was no malicious intent

¢ Regarding Code of Conduct Section 15, as it relates to the Anti-Harassment Policy,
Respondent- stressed he had no speaking role. The roast and skits Were meant to be
humorous and satirical.

0 Respondent- stated that he had no involvement in the release of the videos, and did not
make anyone watch the video.

0 Respondent- said he is very sorry he participated in the fraternity skit and he did not
intend for anyone’s feelings to be hurt and has learned an important lesson to think carefully
about how a skit might be misinterpreted before participating in one.

o Respondent- hopes to end the personal attack against him, which is threatening and
creating an unnecessary psychological impact on him and taking a heavy toll on his family.

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The Respondent presented the following information in support of this argument:

¢ May 6th written response
0 May 10th written testimony

Additionally, the Respondents collectively claimed that the Chancellor’s communications to the
University community regarding the videos negatively impacted the community’s reaction to the
videos Since all members of the Board had not previously read or watched the Chancellor’s
communications the Board asked for, reviewed, and considered the following information, only as it
related to the Respondents’ claims that the messages Were inflammatory and heightened the
community’s reaction:

April 18 email to students faculty, and staff
April 19 email to students faculty, and staff
April 20 email to alumni

April 21 notification that Theta Tau was expelled
April 21 video

Apri122 email to students faculty, and staff

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THE BOARD’S FINDING OF FACT

Facts Determined by the Board

1. An event took place at the Theta Tau house after the fraternity chapter meeting on March
30th at or about 7 p.m. The house is located at 1105 Harrison Street.

2. As part of the membership intake process pledge class members Were asked to create a skit
that roasted current members The skit was a traditional part of the pledging process

3. All pledge class members present participated in creating the script and producing the skit.

4. A11 Respondents confirmed that, during the entire evening, their individual participation was
voluntary.

5. The Board accepts the Respondent’s statement that the actions and language iii the video are
not representative of the Respondent’s personal beliefs

6. There Was no information in the Case File or given at the hearing that alcohol or drugs Were
used, possessed, purchased, distributed, manufactured, or sold.

7. The events of March 30 were video recorded by a member of the fraternity that was later
uploaded to a secret Facebook page, Tau of Theta Tau.

8. Videos were anonymously submitted to DPS and The Daily Orange on or about the morning
oprri118,2018.

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9. Two videos (identified in the Case File as videos #9 and #4), were published by The Daily

Orange.

10. Respondenl- has been identified in the videos as wearing dark Adidas sweat pants

11. Video #9 depicts the following scenes:

'cl.

Scene 1: Respondent - played a dog and Respondent- la ed the
dog’s owner. As narrated by Respondent _, Respondent and
Respondent - could not find “hot bitches to have sex with” and therefore the
do had to engage in sexual intercourse with his owner, wherein Respondent
h simulated humping Respondent-. Respondent- then
simulated “shitting outside the window” after the dog put “cum in his ass”

Scene 2: Responded - held a can at his genitals while Respondent-
was on his knees facing Respondent -', stroking the can with his hand.
Respondent simulated masturbation in Respondent -s face.
Respondent said to Respondent -, “Do you know the oath?”
Respondent placed his hand on the can and replied, “Fuck black people
and fuck Spics.” Respondent - asked Respondent- to recite the
following oath: “l solemnly swear to always have hatred in my heart for Niggers,

Spics and most importantly, the fucking Kikes.” Resiondent - told

   
 

Respondent- to “go to town boy.” Respondent then simulated oral
sex of the can which was still positioned at Respondent ’s genitals
Respondent -called Respondent -arid Respondent-to the front
and said, “You fucking Kikes get in the fucking shower.” An audience member
said, “Too far.”

Scene #3: Respondent_ punched a hole in the wall and simulated sexual
intercourse with the hole in the wall. Respondent_ naiTated that
Respondent -’s character “has had a hard night after facing 30 rejects
from worn en.” Respondent- entered the scene and told Respondent

and another student to “stick [their] dicks in the Wall.” Respondent

bent down while they were humping the wall and Respondent

narrated from the script, “Then [Respondent-] proceeds to bend down and
snort coke of their dicks.”

12. Video #4 depicts the following scenes:

3..

Scene #1: ResiondentF sat in a chair with Wheels, wearing a helmet
Respondent narrated from the script that “people come up with a plan
to fuck wheelchair retarded Yankee. . .he’s drooling out of his mouth because he is
retarded and iri a wheelchair so the hole is already very lubricated.” Respondent
' straddled Respondent 'while Responden- and Respondent

surrounded Respondent and all three Respondents simulated
forcing oral sex on Respondent

who pretended to be unresponsive and
unaware of the situation. Respondent read from the script that

   
   
  

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Respondent -was “total ly unaware that this light rape is occurring” and that
“his mouth becomes a dumpster for all three of their cum.”

13. Video #5 depicts the following scenes:

a. Scene #l: Respondent_ was listening at the door and simulated

masturbation whil R n nt was “trying to get it up” with Respondent
Ari. Responden then mocked Respondent - for not

being able to “get his dick up for a girl.”

 
 
 
 

b. Scene # 2: Respondent. impersonated a “smoke show” female He Was bent
over a table While Respondent - simulated trying to have sex With him, but
was having some “problems with performance.”

14. Video #8, which was not released by The Daily Orange, depicts the following scenes:

a. Scene #l: Respondent_ simulated sex with Respondent. as Respondent
- was lying on his back on the table with his legs spread.

b. Scene #2: Respondent_ and Respondent - enacted a gym scene in which
Respondent - felt Res ondent -s pectora|s, and Respondent - placed
his groin in Respondent face.

Party Credibility

l. Complainant - The Board found Detective Toia credible due to his 32 years of law
enforcement service and clear presentation of the facts investigated

2. Respondent _ The Board found Respondent_ to be credible as he explained his role in
the videos The Board finds that the Respondent’s actions in the video speak for themselves

Information Not Considered by the Board

The Board considered all information presented

Case Analysis

The Board applied the preponderance of the evidence standard in determining whether the conduct
in the videos, and as further explained by Respondent - constituted violations of University
policiesl Respondent_ admitted to his voluntary participation in the events of March 30, 2018
and did not contest that the conduct portrayed in the video occurred as depicted. Additionally, he
confirmed that he participated in the creation of the content of the skit. He argued the skit was
intended to be satirical and Was only meant to be viewed by the fraternity and not the public at large.
Respondent_ also repeatedly stated he did not intend to hurt anyone.

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THE DECISION OF THE BOARD

Finding of Responsibility

We find the Respondent to be:
Responsible for violating the Code of Student Conduct, sections: 2, 3, 15
Not Responsible for violating the Code of Student Conduct, sections: l, 10

Rationale of the Decision of the Board

Respondent_ is found res onsible for violating the Code of Student Conduct Sectio'o 2.
The Board finds that Respondentp- engaged in conduct, directed at another person(s) that is
likely to cause an immediate breach of the peace. Respondent -told the Board that he
participated in the creation of the skit depicting the scenes above. The Board finds the Skit was
directed at an audience, as was inferred from audience laughter, and Was continued by Respondent
’s statement to the Board that it Was indented to be a satirical roast of fraternity members The
Board finds the following scenes are likely to cause an immediate breach the peace: (l) taking an
oath to “always have hatred in my heart for Niggers, Spics and most importantly, the fucking
Kikes;” (2) the statement, “you fucking Kikes get in the fucking shower” (a likely reference to the
genocide of people of Jewish faith); and (3) the “light rape” of a “wheelchair retarded Yankee.”

lt is reasonable to conclude that a person hearing the sexist and racist language in these scenes
would become upset, reactive, and responsive to its content, thereby breaching the peace of that
person’s env` onment. lndeed, an audience member yells, “too far” in response to the scene in which
Respondent says “you fucking Kikes get in the fucking shower.” Moreover, Respondent

told the Board that immediately following the skit, he approached three African
American fraternity brothers and asked them whether they were “ok With what just happened,”
which gives support to the inference that he was concerned about the impact of the videos on others
(May 10th hearing transcript, p. 215, line 15). When the videos were made public by The Daily
Orange, there was community outrage, prompting two community forums to discuss the conduct; a
number of students posted their feelings of distress and fear on social media; major print and
television media outlets across the country covered the content of the video and its subsequent
impact on the campus community. Based on the content of the video, as well as Respondent ’s
admitted participation in the creation ol` the video, there is sufficient evidence that Respondent

engaged in conduct, directed at another that is likely to cause an immediate breach of the

peace.

Respondent_ is found responsible for violating the code of student conduct Section 3.
The Board finds that it is more likely than not that Respondent_ engaged in conduct, namely
the creation of the skit, which threatened the mental health, physical health and safety to any person.
As noted above, Respondent_ admitted to voluntarily participating in creating and acting out
material for the skits. The conduct in the skits caused others in the community to feel their safety
was threatened As an example one Student reported that, “Videos like this promote the inability to
feel safe in your own body and in the space of this campus" (Transcript of the April 18, Fraternity

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Open Forum). Another student posted on social media, “l don’t feel safe here.” (EOlRS Report of
lnvestigation, p. 15).

Respondent - is found responsible for violating the Code of Student Conduct Section 15,
because there is sufficient information that he violated the Syracuse University Office of Fraternity
and Sorority Affairs Policy on Sexual Abuse and Harassment, and the Syracuse University Anti-
Harassment Policy.

Respondent - is found responsible for violating the Office of Fraternity and Sorority
Affairs Policy. The Risk Management Policy of FlPG under which the Sexual Abuse and
Harassment Policy appears provides that it “includes the provisions Which follow and shall apply to
all fraternity/sorority entities and all levels of fraternity/sorority membership.” Pledging is a level of
membership and Respondent_ was participating as part of the new member intake process
Respondent_ is an individual who voluntarily participated in that intake process contributed to
the creation of the skits was present and participated during the production, and did not intervene, to
object, or stop the skit. He thereby condoned the words and actions portrayed in the skit. This
behavior was sexually abusive as evidenced by the simulated rape and bestiality in the events
recorded on video, as Well as sexist, as evidenced, for example in the scene in which Respondent
- is so “whipped by a girlfriend” that he becomes “a wheelchair retarded Yankee.”

Respondent_ is found responsible for violating the University’s Anti- Harassment Policy.
Respondent_ engaged in unwelcome conduct that was directed at an individual or group of
individuals based on a protected category, which was so severe or pervasive that it created a hostile
environment Specifically, Respondent -participated in the creation of the script that portrays a
culture of tolerance of degrading behavior about minorities women and religious groups that was
unwelcome by the University community. He used subject matter in the script, including sending a
group to the shower, referencing the genocide of people of Jewish faith or “dumping of a load” into
the mouth of a disabled person while simulating rape, all as a parody to incite laughter. The Board
finds that although the Respondents said they intentionally directed their conduct at only the
audience present at the Theta Tau fraternity house on March 30th7 the University community did see
their conduct via video, and was impacted by it.

From an objective perspective, it is reasonable that a person of the campus community Would be
negatively affected by the horrid content of the video, especially in the context of a fellow
contributing member of the campus community acting iri the skits The subjective response from the
community included outrage, national media attention, cancelled classes sit-ins and protests all of
which, more likely than not, unreasonably interfered with students participation in educational
programming and employees work performance Some Respondents shared with the Board that the
community impact from seeing the video interfered with their own studies as well.3 ln addition,

 

3 Respondent-explained that "this was distressing to me and my family. l have been hurt by this and my family
has been hurt by this” (May 10 Hearing Transcript, p 32, line 2). Respondent_ described that “my life has been
changed as a result of this You know my family has been put I want to say at risk. My parents’ job locations have been
posted on Twitter, where l live. My sister has been distressed at school. My girlfriend was almost assaulted at her work.”
(May 10 Hearing Transcript, p. 62, line 15). Respondent_ described that he was “at risk of losing my
research position on campus l have since been kicked off an asthma inhaler engineering team which received over
$50,000 in funding in the last six months alone. That was one of my crowing achievements at the University and
essentially just because the two girls that started there were in my classes and knew that was . . just in the organization,
kicked me off the team just because of that I’ve had two professors telling me they can no longer provide

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Detective Toia told the Board that a safety plan was needed for some of the members of the
fratemity. The impact of the Respondents’ conduct on the community was immediate, intense,
severe, and pervasive. Despite the fact that there is no evidence of similar conduct had occurred
prior to the evening of March 30, the nature and severity of the acts depicted on the skit and the
language em lo ed is sufficiently severe to create a hostile environment The Board considered
Respondent s claim that he never intended for the video to be released or to offend anyone, as
was echoed by all Respondents The Board finds however, that he intentionally engaged in conduct
that was unwelcome by the University community and resulted in a hostile environment for affected
members of the University community, and therefore, finds him in violation of the Anti- Harassment
policy.

Respondent is found not responsible for violating Code of Student Conduct Section 1. There
was no information presented that a person was physically harmed or threatened with physical harm
during the event on March 30‘h.

Respondent-is also found not responsible for violating Code of Student Conduct Section
10. As referenced in the finding of fact, there is no information in the Case File or given at the
hearing that alcohol or drugs Were use, possessed, purchased, distributed, manufactured or sold.

The Sexual Harassment charge under the Sexual Harassment, Abuse, and Assault Prevention Policy
Was withdrawn

The Board recommends that the Respondent be given the following sanctions:
Indefinite suspension for two academic years with eligibility for readmission for the Fall 2020 terrn.4

ln order to petition to return to Syracuse University, Respondent-is to complete the following:

0 Personal essay evidencing the learning the student has gained from the incident that led to
the indefinite suspension; the manner in which the student has been occupied since his/her
departure from the University; and, the specific commitments the student will make to
contributing positively to the University community if offered the opportunity for
readmission;

0 Documented information of gainful employment and/or completion of academic course work
at an accredited institution of higher education;

160 hours of community service; and

0 Find three (3) books related to the topics of inclusion and/or bystander intervention Write a
l-page synopsis of each book. Using the three books that you read, along with additional
sources write a 12-page research/reflection paper on the following prompt:

a) What does it mean to be a member of a diverse community?
b) How do you plan to contribute in a meaningful way to the communities of
Which you are a member?

 

recommendation letters as well as l lost my AIAA Vice President position because l, due to this unlawful suspension
levied against us, l cannot attend the elections for next year.” (May 10 Hearing Transcript, p. 227, line 4).
4 The decision on sanction recognized the withdrawal of the Sexual Harassment charge under the Sexual Harassment,
Abuse, and Assault Prevention Policy, and is based only on the charges for which the Respondent was found
responsible, as discussed above.

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c) What does inclusion mean to you?

Rationale for Determining Sanctions

After finding that Respondent_ violated the policies discussed above, the Board considered the
following factors in determining sanction; the nature and severity of the conduct; Respondent
-s individual actions; the impact on the community; Respondentwlanation of his
intent and the purpose of the skit; any prior disciplinary history; Respondent ’s written
mitigation statement; the standard sanctions outlined in the Student Conduct System Handbook; and
the range of sanctions imposed for similar conduct, including the sanctions imposed for the three
students who accepted responsibility for similar conduct. 5 The Board finds that it is not bound by
the standard sanctions as the Handbook provides that standard sanctions do not apply when the
Respondent en a ed in multiple violations of the Code of Student Conduct in a single incident, as
Respondent is found to have done here

The Board issued a combination of sanctions that are reasonably tailored to stop the conduct, prevent
it from happening again, and to remedy its effect on the University community. The Board finds the
nature of the conduct in the videos egregious and is concerned about the culture of acceptance
displayed by both the actors in the skit and the audience laughing at its content The words and
actions portra ed in the video show a disregard for the experiences and struggles of other people
Respondent contributed to drafting the content and acting in scenes that use sexual assault to
incite laughter and that mocked individual based on race, ethnicity, religion, sexual identit , and
ability-individuals who make the Syracuse Universityr community. Because Responden both
contributed to drafting and acting in the heinous scenes the Board is implementing a suspension of
two years The Board believes that suspension, with the stated conditions Will allow the
Respondent-to reflect on the impact his actions had on the community, as Well as rehabilitate
him and reasonably ensure that the conduct will not be repeated The impact on the community will
be remedied by the removal of Respondent_ from the community, allowing time for it to heal.

 

5 The Board was not bound by the sanctions imposed in these three matters and was free it impose any sanctions
deemed appropriate for the Respondent in this matter.
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